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1
2       UNITED STATES DISTRICT COURT OF NEW YORK
        SOUTHERN DISTRICT OF NEW YORK
3       - - - - - - - - - - - - - - - - - x
        GEORGE PACKARD, EDWARD BECK,
4       MICHELLE BERGER, ARI COWAN,
        CHARLES MEACHAM, and LARRY
5       SWETMAN, individually and on
        behalf of all others similarly
6       situated,
7                           Plaintiffs,
8               - against -               15-CV-7130(AT)(SDA)
9       THE CITY OF NEW YORK, a municipal
        entity,
10
                                 Defendant.
11
12      - - - - - - - - - - - - - - - - - X
                         217 Centre Street
13                       New York, New York
14                       September 20, 2018
                         10:31 A.M.
15
16
17           DEPOSITION of THE CITY OF NEW YORK, the
18      Defendant herein, by JOSE VEGA, taken by the
19      Plaintiffs herein, pursuant to Federal Rules and
20      Regulations and Rule 30(b)(6), held at the
21      above-mentioned time and place, before Anita M.
22      Cummo, a Notary Public of the State of New York.
23
24
25

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1
2       A P P E A R A N C E S :
3
4
        Attorneys for Plaintiffs
5           WYLIE STECKLOW
            217 Centre Street, 6th floor
6           New York, New York 10013
            BY:  WYLIE STECKLOW, ESQ.
7                wylie@wylielaw.com
                 JON AVIMS, ESQ.
8
9       Attorneys for Defendant
            OFFICE OF THE CORPORATION COUNSEL
10          Law Department of the City of New York
            100 Church Street
11          New York, New York 10007
            BY:  AMY ROBINSON, ESQ.
12
13
14      A L S O   P R E S E N T :
15      JONI FORSTER-GALVIN
        Agency Privacy Officer
16
17      JOSEPH SHARKEY
18
19
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1                                  STIPULATIONS
2
3
4
5
6                   IT IS HEREBY STIPULATED AND AGREED by and
7       among counsel for the respective parties hereto,
8       that the filing, sealing and certification of the
9       within deposition shall be and the same hereby
10      waived.
11                  IT IS FURTHER STIPULATED AND AGREED that all
12      objections, except as to form of the question,
13      shall be reserved to the time of trial;
14                  IT IS FURTHER STIPULATED AND AGREED that the
15      within deposition may be signed before any Notary
16      Public with the same force and effect as if signed
17      and sworn to before the court.
18                  IT IS FURTHER STIPULATED AND AGREED that
19      counsel representing the witness examined herein
20      shall be furnished with a copy of the within
21      deposition without charge.
22                                    *    *   *
23
24
25

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1                                       JOSE VEGA
2                        J-O-S-E     V-E-G-A, a Rule 30(b)(6)
3       witness herein, having first been duly sworn by
4       a Notary Public of the State of New York, was
5       examined and testified as follows:
6       EXAMINATION BY
        MR. STECKLOW:
7                   Q.     Please state your full name for the
8       record.
9                   A.     Jose Vega.
10                  Q.     What is your present address?
11                  A.     1278 Sedgwick Avenue, Bronx, New
12      York 10452.
13                            MR. STECKLOW:            The time is 10:31.
14                         We are my office at 217 Centre
15                         Street.      My name is Wylie Stecklow.
16                         We are here for the deposition of
17                         the City of New York by Sgt. Jose
18                         Vega.
19                            THE WITNESS:           Yes, sir.
20                            MR. STECKLOW:            You have been
21                         sworn in already so I'm going to
22                         start right in with the questions.
23                  Q      Have you been deposed before, Sgt.
24      Vega?
25                  A      Yes.

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1                                     JOSE VEGA
2                   Q    How many times have you been deposed
3       before?
4                   A    Once in the past.
5                   Q    When was that?
6                   A    I would hazard a guess about 12 or
7       13 years ago.
8                   Q    Was that personally or was that as a
9       30(b)(6) witness, as you are today?
10                  A    It was a personal thing through the
11      job.
12                  Q    It was in your individual capacity?
13                  A    Yes, sir.
14                           MR. STECKLOW:           Since you've only
15                       been deposed once, I'm going to go
16                       through all the rules and
17                       guidelines.
18                           THE WITNESS:          Okay.
19                  Q    You need to, as you have been, wait
20      for me to finish all my questions and you need
21      to answer verbally as you have been; is that
22      acceptable?
23                  A    Yes.
24                  Q    If you don't understand the
25      question, will you tell me?

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1                                     JOSE VEGA
2                   A    Yes, sir.
3                   Q    If you don't hear a question, will
4       you tell me?
5                   A    Yes, sir.
6                   Q    If my question is unclear in any
7       way, will you let me know?
8                   A    Yes, sir.
9                   Q    If you don't know the answer to my
10      question, will you let me know?
11                  A    Yes, sir.
12                  Q    If there's something that might help
13      you to remember the answer to my question, will
14      you let me know what that is?
15                  A    Yes.
16                  Q    Is there any reason why you cannot
17      testify truthfully and accurately here, today?
18                  A    No, sir, none whatsoever.
19                           MR. STECKLOW:           I have some
20                       questions about that.             Nothing
21                       personal.        It's just standard
22                       question.
23                           THE WITNESS:          Okay.
24                  Q    Have you consumed any alcohol in the
25      last 24 hours?

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1                                     JOSE VEGA
2                   A    No.
3                   Q    Have you taken any drugs in the last
4       24 hours?
5                   A    No.
6                   Q    Are you aware of any physical
7       condition that would affect your ability to
8       testify truthfully and accurately here, today?
9                   A    No.
10                  Q    Are you aware of any mental
11      condition that would affect your ability to
12      testify truthfully and accurately here, today?
13                  A    No.
14                  Q    Are you taking any medications that
15      would affect your ability to testify truthfully
16      and accurately here, today?
17                  A    No, sir.
18                  Q    Did you fail to take some medication
19      that you should be taking that may affect your
20      ability to testify truthfully and accurately
21      here, today?
22                  A    No, sir.
23                  Q    Are you aware that you are under
24      oath the same today, the same as if you were in
25      a court of the law?

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1                                     JOSE VEGA
2                        Obviously, this room is a little
3       nicer here but you are under the same oath to
4       tell the truth?
5                   A    Yes, sir.
6                   Q    Do you understand that you may read
7       a transcript when this is over and make any
8       chances that you may believe are necessary to
9       get the correct words that you are giving today
10      into the transcript?
11                       Do you understand that?
12                  A    Yes, sir.
13                  Q    Do you understand that if you do
14      that, I would be able to question you on any
15      changes you make to the transcript?
16                  A    Yes, sir.
17                  Q    If I ask you any question and you
18      know the answer because your recollection was
19      refreshed by a document or recording or any type
20      of item, would you tell me the answer and also
21      tell me what it was that refreshed your
22      recollection?
23                  A    Yes, sir.
24                  Q    As the deposition is going along, if
25      you start to remember that you need to change an

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1                                     JOSE VEGA
2       answer you've made already, would you let me
3       know that and we'll go back to that prior answer
4       so you can change it, will you agree to that?
5                   A    Yes, sir.
6                   Q    Today, because you're here on behalf
7       of the City of New York, when I refer to you in
8       this deposition, I am referring to you in your
9       capacity as a representative of the City of New
10      York, is that acceptable?
11                  A    Yes, sir.
12                  Q    Unless I expressly say otherwise,
13      that's how we're go to go about it.
14                       If I refer to you, I'm referring to
15      the City of New York; correct?
16                  A    Yes.
17                  Q    For example, if I ask you whether
18      you know or believe something, I'm asking you to
19      testify concerning what the City of New York
20      knows or believes; right?
21                  A    Yes, sir.
22                  Q    Also, please note that in this
23      deposition when I use the term "document," I
24      mean any kind of recorded information including
25      a paper record, an electronic document,

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1                                      JOSE VEGA
2       electronic information in a data base, an image,
3       a video?
4                         Unless I trust you to say otherwise,
5       I'm trying to be broad with the term "document;"
6       is that acceptable?
7                   A     Yes, sir.
8                   Q     At any point, if you're confused by
9       my use of the word document, you'll let me know
10      that?
11                  A     Yes, sir.
12                  Q     When I refer to the NYPD, I'm also
13      referring to the City of New York as a whole,
14      unless I expressly say otherwise.
15                        In other words, if I ask you whether
16      the NYPD has a particular kind of policy, I
17      expect you to let me know about any such policy
18      maintained by the NYPD or the City of New York;
19      is that okay?
20                  A     Yes, sir.
21                  Q     When I refer to the City of New
22      York, I'll expect your answer to then include
23      information concerning the NYPD and the City of
24      New York total; correct?
25                  A     Yes, sir.

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1                                      JOSE VEGA
2                   Q     If at any time you're confused by
3       that, the distinction between the NYPD, the City
4       of New York or joining them together, you'll let
5       me know?
6                   A     Yes, sir.
7                   Q     As we just discussed, you are here
8       to testify on behalf of the City of New York;
9       correct?
10                  A     Yes, sir.
11                  Q     Your answers here will be sworn
12      answers made on behalf of the City of New York;
13      correct?
14                  A     Yes.
15                  Q     And your answers in this deposition
16      will be binding on the City of New York in the
17      same way as any witness testifying on their own
18      behalf would be bound by their answers; correct?
19                  A     Yes.
20                  Q     Is there any way you believe that
21      not to be true?
22                  A     No.
23                  Q     Do you agree that as a 30(b)(6)
24      witness representing the City in this deposition
25      you are under a duty to inform yourself as in

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1                                      JOSE VEGA
2       subject matter of the deposition; correct?
3                   A     Yes, sir.
4                   Q     Have you done so in this matter?
5                   A     I don't understand that part.
6                              MR. STECKLOW:         I'm going to take
7                         a two-minute break and grab a copy
8                         of the notice.
9                              (Whereupon, at this time a brief
10                        recess was taken.)
11                             MR. STECKLOW:         Mark this as Vega
12                        1.
13                             (Whereupon, at this time, the
14                        above-mentioned 30(b)(6) notice was
15                        were marked by the reporter as
16                        Vega's Exhibit 1, for
17                        identification, as of this date.)
18                  Q     Have you had a chance to review what
19      was marked as Vega Exhibit 1?
20                  A     Yes, sir.
21                  Q     Is that the deposition notice that
22      you are prepared to testify to, today?
23                  A     Yes, sir.
24                  Q     Is there any topic on either the
25      front of this document or the back of this

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1                                      JOSE VEGA
2       document that you are not prepared to testify
3       to?
4                   A     No, sir.
5                   Q     You're prepared and ready to testify
6       to each topic in this Exhibit 1?
7                   A     To the best of my ability, yes.
8                   Q     When did you start preparing for
9       this deposition?
10                  A     I was called by the Corporation
11      Counsel a couple of months ago and informed that
12      I was going to be deposed for this.                   So I'm
13      guessing, once I was told I started to make sure
14      I understood what was going to be asked of me.
15                  Q     When was the first time that you met
16      with Corporation Counsel?
17                  A     I don't recall the date.
18                  Q     You already said it was a few months
19      ago when you first heard from them, so if you
20      can ball park if for me if it was months, weeks,
21      days?
22                  A     If I had to take a guess, about two
23      or three months ago.
24                  Q     Was it the summertime or the
25      springtime, as best you can remember?

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1                                      JOSE VEGA
2                   A     As best I can remember, probably
3       late spring.
4                   Q     How many times did you meet with the
5       Corporation Counsel?
6                   A     Since then to now, twice.
7                   Q     Does that include that first time?
8                   A     Yes, sir.
9                   Q     When was the second time?
10                  A     The second time was this past
11      Monday.
12                  Q     Both of those times, did you speak
13      with Ms. Robinson who is sitting next to you?
14                  A     Yes, sir.
15                  Q     Other than Ms. Robinson, was there
16      any other attorneys with the City law department
17      that you spoke with?
18                  A     There was another lady present at
19      the first meeting.           I believe her name was
20      Allison Mitchell, I believe.
21                            MR. STECKLOW:          That's correct.
22                  Q     Do you see sitting next to Ms.
23      Robinson is another attorney from the Legal
24      Bureau?
25                  A     Yes, I see her.

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1                                      JOSE VEGA
2                   Q     Did you meet with her, all, in
3       preparation for today's deposition?
4                   A     No, sir.
5                   Q     Other than Ms. Mitchell and Ms.
6       Robinson, did you meet with anybody else, in
7       preparation for today's deposition?
8                   A     I have not met with anybody else.
9                   Q     Other than Ms. Mitchell and Ms.
10      Robinson, was there anybody else in the room,
11      when you were meeting with either of them?
12                  A     No, there was no one else in the
13      room.
14                  Q     The first time you met with them,
15      was that in person or on the phone?
16                  A     I met with them in person.
17                  Q     How long was that meeting?
18                  A     Give or take, about an hour.
19                  Q     You met with them a few days ago?
20                  A     Yes, sir.
21                  Q     How long was that meeting?
22                  A     About 90 minutes to two hours, in
23      total.
24                  Q     Did you look at any documents, when
25      you met with them the first time?

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1                                      JOSE VEGA
2                   A     Yes, sir.
3                   Q     How many documents did you look at?
4                   A     It was just training documents.                 I
5       can't hazard to guess how many.                   It was maybe
6       about an inch thick.
7                   Q     Did you look at any videos, the
8       first time them met with them?
9                   A     No, sir.
10                  Q     Did you receive any documents from
11      them, in between the first meeting and the
12      second meeting?
13                  A     I received an e-mail from them, yes,
14      sir.
15                  Q     Was there anything attached to the
16      e-mail?
17                  A     There was some documents pertaining
18      to the training and some Legal Bureau briefs
19      that the NYPD releases.
20                  Q     Was it the same documents you
21      reviewed the first time that you were together?
22                  A     Yes, sir.
23                  Q     Was there any additional documents
24      that were attached to them?
25                  A     No.

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1                                      JOSE VEGA
2                   Q     The Legal Bureau bulletins, do you
3       remember how many there were?
4                   A     I believe there was two of them and
5       they were both pertaining to the statutes of
6       disorderly conduct.
7                   Q     It was one the 1970, more or less,
8       from the Legal Bureau?
9                   A     That one I do remember.             I remember
10      the 1970 one.
11                            MR. STECKLOW:          I'm going to go
12                        over the instruction again, just so
13                        we can do this.          You have to wait
14                        for me to finish my question --
15                            THE WITNESS:         Okay.     Sorry about
16                        this.
17                            MR. STECKLOW:          -- or else it
18                        makes a bad record.
19                            THE WITNESS:         Sorry about that.
20                  Q     My understanding is that there are
21      two Legal Bureau bulletins relating to
22      disorderly conduct.            One was issued in the '70s
23      and one was issued in 2017.
24                        Are those the two Legal Bureau
25      bulletins you're talking about?

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1                                      JOSE VEGA
2                   A     Yes, sir.
3                   Q     Was there any other Legal Bureau
4       bulletin you reviewed, in preparation for
5       today's deposition?
6                   A     Not that I can recall.
7                   Q     When you met with them a few days
8       ago, did you review any other documents?
9                   A     We went over some training lesson
10      plans and there was also a couple of other
11      documents for call-outs of details and for a
12      notification on training.
13                            MR. STECKLOW:          Let's start with
14                        the training documents.
15                  Q     Which training documents did you
16      review then?
17                        Did you see lesson plans?
18                  A     Yes, sir.
19                  Q     Which lesson plans were they?
20                  A     Lesson plans on demonstrator
21      tactics, mass arrest tactics, setting up and
22      maintaining of command post.                 There was also one
23      lesson plan on legal perspective.                  I don't know
24      if that's the exact word, but it was about legal
25      parts and then there was one from the Police

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1                                      JOSE VEGA
2       Academy that they give out when it comes to
3       public order.
4                   Q     You said there's a notification that
5       you reviewed; what was that?
6                   A     One notification that was there to
7       review was for future training on what we call
8       unusual disorder plans.
9                   Q     Who issued that document?
10                  A     That notification came from my
11      office.
12                  Q     When did that notification come from
13      your office?
14                  A     That I don't recall because that's
15      an annual training that we do.                     So, I don't know
16      which year that document was from.
17                  Q     It's a training in unusual training
18      [sic] plans?
19                  A     Yes.
20                  Q     That's the name of the document?
21                  A     It's training for unusual disorder
22      plans.
23                  Q     Did you review any videos, when you
24      were meeting with your attorneys a couple of
25      days ago?

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1                                      JOSE VEGA
2                   A     Yes.
3                   Q     Which videos did you review?
4                   A     One video was entitled "Occupied
5       Bronx."
6                   Q     Anything other videos?
7                   A     There was another video.              It's a
8       training video on what happens when you go to a
9       deposition.
10                  Q     Other than those two videos, did you
11      review any other videos?
12                  A     Those are the only two videos that I
13      reviewed.
14                  Q     Those are the only two videos you
15      reviewed, at all, I mean?
16                        At the first meeting, any e-mails or
17      the second meeting, those are the only videos
18      that you reviewed in anticipation of today's
19      deposition?
20                  A     Yes, sir.
21                  Q     Did you communicate with anyone who
22      is not a attorney, in preparation for today's
23      deposition?
24                  A     Yes.
25                  Q     Who was that?

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1                                      JOSE VEGA
2                   A     I communicated with my former
3       commanding officer, Anthony Raganella.
4                   Q     When did you speak to Anthony
5       Raganella?
6                   A     I spoke to him a couple of days ago.
7                   Q     How long was that conversation?
8                   A     Five or ten minutes, give or take.
9                   Q     Did you call him or did he call you?
10                  A     He called me.
11                  Q     When was the last thing that you
12      spoke to him, before this call?
13                  A     About a week ago.
14                  Q     Was that conversation also about
15      this deposition or something different?
16                  A     Something different.
17                  Q     Prior to a week ago, when was the
18      last time you spoke to him?
19                  A     I usually -- we usually speak about
20      a weekly basis.
21                  Q     When he called you and you spoke to
22      with him about five to ten minutes about this
23      deposition, what was that conversation?
24                  A     Basically, he just told me that, you
25      know, the person who was deposing him the last

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1                                      JOSE VEGA
2       time he got deposed, that person was very fair,
3       and, you know, to go in there and just, you
4       know, just do my job and everything will be
5       fine.
6                               MR. STECKLOW:         Off the record.
7                               (Discussion held off the
8                         record.)
9                   Q     Did you discuss any of the details
10      of his testimony in his deposition?
11                  A     No.
12                  Q     Did you discuss any of the details
13      of your testimony in this deposition?
14                  A     No.
15                  Q     Other than him saying that the
16      person who took his deposition was fair, did he
17      give you any other instructions or comments
18      about this deposition?
19                  A     No.
20                  Q     Did he tell you to look at any video
21      or document, in anticipation of this deposition?
22                  A     No.
23                  Q     Other than speaking with your
24      attorneys, meeting with them twice and receiving
25      one e-mail, did you undertake any other efforts

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1                                      JOSE VEGA
2       to prepare yourself for today's deposition?
3                   A     What I did was the documents that
4       were provided me from the e-mail and the
5       documents that I read the other day, I just went
6       over them and reread them to make sure it was
7       what we've done in the past.
8                   Q     You did that not with your attorneys
9       but on your own?
10                  A     Yes, sir.
11                  Q     Did you bring those documents with
12      you?
13                  A     No, sir.
14                            MR. STECKLOW:          We'll put this in
15                        writing but we're going to make a
16                        requests for those documents.                  I
17                        imagine that most of them have
18                        already been produced.
19                            MS. ROBINSON:          Of course.      I
20                        wouldn't show him anything that
21                        wasn't Bates-stamped.
22                            MR. STECKLOW:          Very briefly,
23                        Sergeant, I'd like to go over your
24                        NYPD history.
25                  Q     When did you enter the academy?

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1                                      JOSE VEGA
2                   A     I entered the academy on June 30th
3       of 1995.
4                   Q     What was your first assignment, once
5       you finished at the academy?
6                   A     My first assignment was at the 30
7       Precinct.
8                   Q     How long were you there for?
9                   A     I was there from March of '96 until
10      May 1st of 1998.
11                  Q     Where were you transferred, at that
12      point?
13                  A     I was transferred to the Manhattan
14      North Task Force.
15                  Q     For how long were you at MNTF for?
16                  A     I was there until August of 2001.
17                  Q     When you were transferred, were you,
18      at that point, promoted to sergeant?
19                  A     No, I was transferred, at the time.
20                  Q     At what point were you promoted to
21      sergeant?
22                  A     I was promoted on August 5th of
23      2005.
24                  Q     Where were you transferred, after
25      Manhattan North?

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1                                      JOSE VEGA
2                   A     I was transferred to the Disorder
3       Control Unit.
4                   Q     That was in August of 2001?
5                   A     Yes, sir.
6                   Q     Who was your direct supervisor at
7       the Disorder Control Unit in August of 2001?
8                   A     At that time, the direct supervisor
9       was Sgt. Robbie Schwach, S-C-H-W-A-C-H.
10                  Q     At that point, he was a sergeant?
11                  A     Yes, at that point.
12                  Q     Between August 2001 and August 2005
13      when you were promoted to sergeant, did you stay
14      at Disorder Control Unit that entire time?
15                  A     Yes, sir.
16                  Q     Have you ever left Disorder Control,
17      since then?
18                  A     Yes.     When I got promoted, I was
19      transferred to the Ninth Precinct.
20                  Q     That was in August of 2005?
21                  A     Yes, sir.
22                  Q     How long were you at the Ninth
23      Precinct for?
24                  A     Until I was transferred back to
25      Disorder Control on June 26th of 2006.

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1                                      JOSE VEGA
2                   Q     Have you subsequently stayed at the
3       Disorder Control the entire time or did you, at
4       some point, leave Disorder Control?
5                   A     No, I've been there since then.
6                   Q     At what point did Robbie Schwach
7       leave Disorder Control?
8                   A     July -- his last day was July 4th of
9       2010.
10                  Q     At what point did Anthony Raganella
11      become the CO at Disorder Control?
12                  A     He became the CO late July, early
13      August of 2010.
14                  Q     In between the time that Robbie
15      Schwach left and Inspector Raganella came in,
16      who was in charge of Disorder Control?
17                  A     Theoretically, we had no commanding
18      officer, but I was in charge for those three
19      week in that transition period.
20                  Q     And you've stayed at Disorder
21      Control since?
22                  A     Yes, sir.
23                  Q     You continue there, today?
24                  A     Yes, sir.
25                  Q     Has your rank changed, at all?

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1                                      JOSE VEGA
2                   A     I was given a discretionary
3       promotion in January of 2016, so the title is
4       now sergeant special assignment.
5                   Q     Did that change your
6       responsibilities or simply just change your
7       title and your salary?
8                   A     It was just a change to title and
9       salary.
10                            MR. STECKLOW:          Off the record.
11                            (Discussion held off the
12                        record.)
13                  Q     Could you describe the various
14      locations at which training is provided to the
15      NYPD?
16                            MS. ROBINSON:          Objection.      You
17                        can answer.
18                  A     All training or just bought disorder
19      control training?
20                            MR. STECKLOW:          I believe you're
21                        here to talk about all training not
22                        just disorder control training; is
23                        that correct, Ms. Robinson?
24                            MS. ROBINSON:          Just disorder
25                        control training.

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1                                      JOSE VEGA
2                             MR. STECKLOW:          Okay.    Can we go
3                          off the record for a second?
4                             (Discussion held off the
5                          record.)
6                             MR. STECKLOW:          I'm going to take
7                          a minute.
8                             (Whereupon, at this time a brief
9                          recess was taken.)
10                            MR. STECKLOW:          Back on the
11                         record, time is 11:09 A.M.
12                  Q      Please identify between 2004 and
13      2011 each location that Disorder Control gave
14      training?
15                  A      To the best of my memory, for that
16      time period, training was conducted at -- it was
17      called the Bronx Task Force base, which is
18      located at 1278 Sedgwick Avenue.                  That's a large
19      classroom where we do the classroom training.
20      Our field training was usually done at Randall's
21      Island.         Behind Icahn Stadium there's a large
22      parking lot, and we use that for the field
23      training.         At other times, we utilize the police
24      academy located at the one -- the old one in
25      Manhattan on 20th Street between Second and

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1                                       JOSE VEGA
2       Third Avenue.          We would use their gym and their
3       classroom space for our field and our classroom
4       study.          Other mobilization drills pertaining to
5       crowd control for that time, we would conduct
6       them in a wide open areas like the Citi Field --
7       it was not Citi Field, at the time.                   Excuse me.
8       Shea Stadium parking lot and at Floyd Bennett
9       Field on one of their air strips next to the
10      special operations division base.                  That's most
11      of the locations that I can recall where our
12      crowd control training in the field and in the
13      classroom was conducted.
14                  Q       You have identified five locations.
15                  A       Yes, sir.
16                  Q       Bronx Task Force, field training at
17      Randall's Island, police academy, Shea Stadium
18      and Floyd Bennett Field.
19                          Are there any other locations that
20      you can think of where DCU conducted any
21      training between 2004 and 2011?
22                  A       Not that I recall, right now.
23                  Q       You discussed that the Bronx Task
24      Force location is where the classrooms were
25      located; correct?

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1                                      JOSE VEGA
2                   A     Yes, sir.
3                   Q     Were there classrooms located at the
4       other locations where Disorder Control conducted
5       classroom training?
6                   A     The only location that had a
7       classroom was the police academy.
8                   Q     Other than the police academy and
9       the Bronx Task Force, between 2004 and the end
10      of 2011 --
11                            MR. STECKLOW:          Withdrawn.      Off
12                        the record.
13                            (Discussion held off the
14                        record.)
15                  Q     Between 2004 and September 30th,
16      2012, Disorder Control only conducted classroom
17      trainings at either the Bronx Task Force
18      location or the police academy; is that correct?
19                  A     Yes, sir.
20                  Q     Was the Bronx Task Force utilized
21      through the year 2001?
22                  A     Yes, sir.
23                  Q     So, starting from 2004 through 2011,
24      Disorder Control conducted classroom trainings
25      at the Bronx Task Force location?

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1                                      JOSE VEGA
2                   A     Yes, sir.
3                   Q     How often did they do that?
4                   A     The schedule was disjointed.               But
5       what happened was when we -- either we
6       identified the training need or we were told by
7       One Police Plaza we would set up training
8       classes and we put out a schedule to whoever was
9       going to be trained and then the classroom
10      instruction was carried on at our base.
11                  Q     Can you identify when that occurred
12      in 2011?
13                  A     In 2011, we had the recruits -- not
14      the recruit.        Excuse me.        We would -- I don't
15      have exact dates on those.                It wasn't a lot of
16      training that was done in the classroom.
17                  Q     But your testimony is there was some
18      training done in the classroom?
19                  A     Yes, sir.
20                  Q     Was that training for all MOS, for
21      police officer ranks or sergeant ranks?
22                        What ranks of officers did that
23      classroom training?
24                  A     The classroom training was for the
25      ranks and police officer, sergeant and

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1                                      JOSE VEGA
2       lieutenant, but it wasn't for the whole
3       department.        It was mostly kept within the task
4       forces.
5                   Q     It didn't rise up above the rank of
6       lieutenant, there weren't captains or inspectors
7       or chief trainings there?
8                   A     No.     I personally never conducted
9       anything for any executives above the rank of
10      captain and above.
11                              MR. STECKLOW:         I'm asking about
12                        the City of New York and not you
13                        personally, Sgt. Vega.             So I just
14                        want to remind you of that.
15                              THE WITNESS:        Yes.
16                  Q     I'm asking you again, that in 2011
17      that Disorder Control did not conduct any
18      classroom training for officers above the rank
19      of lieutenant; correct?
20                  A     No, I'll have to change that.                We
21      have -- we have a class for newly-promoted
22      captains.       It's called the Command Post
23      Operations Course and that's taught to new
24      people that are promoted, and it gets them ready
25      on how to set up a command post for any type of

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1                                      JOSE VEGA
2       emergency incident.
3                   Q     Is there any sort of training in
4       that course on standards of probable cause for
5       arrest?
6                   A     No, not -- for that class we teach
7       there's nothing on probable cause for arrest.
8                   Q     That is the only course Disorder
9       Control taught in a classroom setting for
10      members of the service whose ranks were either
11      captain or above; correct?
12                  A     That's from what I can recall, yes,
13      sir.
14                            MR. STECKLOW:          I'd like to mark
15                        this as Vega 2.          While it's being
16                        marked, I'll ask you to start
17                        looking at it.
18                            (Whereupon, at this time, the
19                        above-mentioned Advanced command
20                        leadership training section was
21                        marked by the reporter as Vega's
22                        Exhibit 2, for identification, as of
23                        this date.)
24                  Q     Have you had a chance to review what
25      was marked as Vega Exhibit 2?

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1                                      JOSE VEGA
2                   A     Yes, sir.
3                   Q     Is this a record of something taught
4       by Disorder Control?
5                   A     No, sir.
6                   Q     Do you know who this is taught by?
7                   A     This is taught by the -- called the
8       Leadership Development Section of the NYPD's
9       police academy.
10                  Q     This is not something that you have
11      experience with?
12                  A     No, sir.
13                  Q     This is not the document that would
14      be taught in the command post course that we
15      just discussed?
16                  A     No, sir.
17                  Q     What type of training would take
18      place at the field training on Randall's Island?
19                  A     At Randall's Island the field
20      training that we conducted there consisted of
21      line and wedge formations, which is -- the
22      technical name for that is field force
23      operations and basically how to set up lines and
24      wedges and the support formations.                   The second
25      thing that we was taught on Randall's Island was

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1                                      JOSE VEGA
2       mass arrest formations which is a formation that
3       we teach on how to safely arrest people who want
4       to get arrested at a protest, and the big thing
5       we try to teach them there is this is for a
6       non-violent crowd.           The third thing that was
7       taught at the field training was a high profile
8       vehicle rescue.          High profile vehicle rescue
9       consisted of vehicles, usually three or four at
10      a time, coming into an area saving someone who
11      was in extreme danger and then leaving as
12      quickly as possible.            The idea was to rescue,
13      get in and get out without getting involved with
14      the crowd.        So, that was the three main basic
15      things that's we taught in our field training
16      constantly when we were at Randall's Island.
17                  Q     Is mobile exercise another term for
18      field training?
19                  A     It -- it's kind of what the term is.
20      What we call a mobilization exercise or MobEx is
21      when -- for a MobEx we call people without them
22      knowing it's happening.              So, we will go there
23      and test the response and then when get there
24      then we go over the field training.
25                  Q     Mobilization exercise means you'll

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1                                        JOSE VEGA
2       reach out to certain groups of officers without
3       notice and say "Today you're coming to Randall's
4       Island and show up at 0800?"
5                   A        No.   What I meant -- sorry about
6       that.           What I meant is we would go over the air
7       and we'll say "We're conducting mobilization
8       exercise.           We need to file in units to deploy to
9       Randall's Island."
10                  Q        That would over FINEST message or
11      over a --
12                  A        It was done always over the radio.
13                  Q        Over the police radio?
14                  A        Yes, sir.
15                  Q        Without notice?
16                  A        Yes, sir.
17                  Q        During 2011, how many mobilization
18      exercises were conducted?
19                  A        I cannot give like an accurate
20      answer for that.             At the time, we were under
21      constraints of not doing a lot of exercises
22      because every time you do an exercise you're
23      pulling people off of patrol.                    I know we
24      conducted.           Them the frequency that I can't give
25      a proper answer to.

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1                                      JOSE VEGA
2                             MR. STECKLOW:          I'm going to take
3                         a break.      I can't seem to find the
4                         list of mobile exercises.              This is
5                         what I talked about having a
6                         disjointed deposition.             We're going
7                         to take another quick break.
8                             (Whereupon, at this time a brief
9                         recess was taken.)
10                            MR. STECKLOW:          Mark these please.
11                            (Whereupon, at this time, the
12                        above-mentioned DCV Level I & II
13                        mobilization was marked by the
14                        reporter as Vega's Exhibit 3, for
15                        identification, as of this date.)
16                            (Whereupon, at this time, the
17                        above-mentioned 4/1971 Legal Bureau
18                        bulletin was marked by the reporter
19                        as Vega's Exhibit 4, for
20                        identification, as of this date.)
21                            (Whereupon, at this time, the
22                        above-mentioned 2/2017 Legal Bureau
23                        bulletin was marked by the reporter
24                        as Vega's Exhibit 5, for
25                        identification, as of this date.)

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1                                      JOSE VEGA
2                             (Whereupon, at this time, the
3                         above-mentioned NYPD six-month plan
4                         was marked by the reporter as Vega's
5                         Exhibit 6, for identification, as of
6                         this date.)
7                             MR. STECKLOW:          Back on the
8                         record.      The time is now 11:46.
9                         It's 11:46 A.M.          This is Wylie
10                        Stecklow and we're back on the
11                        record.
12                  Q     We have now marked a document as
13      Vega 3.
14                        Do you see that document in front of
15      you?
16                  A     Yes, sir.
17                  Q     Have you had a chance to review it?
18                  A     Yes, sir.
19                  Q     Does this document identify when
20      there were mobilization trainings in 2011?
21                  A     Actually, this document identifies
22      two separate things.            When we did mobilization
23      training and there was something called CRV
24      training that we were conducting also at the
25      same time.

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1                                      JOSE VEGA
2                   Q     Can you explain what CRV training
3       is?
4                   A     Yes, sir.       The term CRV stands for
5       critical response vehicle.                Everyday Monday
6       through Sunday, the -- every precinct will send
7       one vehicle to a staging area, usually at the
8       Javits Center and then they will be deployed
9       into eight different zones for counterterrorism
10      reasons.        We weren't involved in that but I'm
11      just explaining it.            About three times a week we
12      were asked by the chief of counterterrorism if
13      we would come down and train patrol people who
14      you were doing CRV in crowd control training for
15      about 30 to 45 minutes three times a week at the
16      Javits Center.
17                  Q     This CRV training was training that
18      occurred at the Javits Center?
19                  A     Yes, not inside the center itself.
20      That's where they staged.               Usually in their
21      parking lot or across the street from the Javits
22      Center parking lot.
23                  Q     Did the CRV training involve any
24      training in probable cause standards?
25                  A     No, sir.

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1                                      JOSE VEGA
2                   Q     Did it involve any training in the
3       rights of First Amendment protestors in sidewalk
4       protests?
5                   A     No, sir.
6                   Q     Was the CRV training for all levels
7       of members of the service or for specific
8       levels?
9                   A     It's was only for specific levels.
10                  Q     Which ranks were those?
11                  A     Sergeants and police officers.
12                  Q     No lieutenants, captains,
13      inspectors, deputy inspectors, chiefs, assistant
14      chiefs, nothing above there?
15                  A     Sometimes they would come to watch,
16      but they were not participating in the training.
17                  Q     Does CRV training involve any
18      classroom training?
19                  A     No, sir.
20                  Q     It's all field training?
21                  A     Yes, sir.
22                  Q     On the document which has been
23      identified as Vega 3, is there any item here
24      that involves classroom training or is it all
25      field training?

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1                                      JOSE VEGA
2                   A     I will double-check.            But if it says
3       "CRV" in the mobilization, this is all field
4       training.
5                   Q     Have you had a chance to review Vega
6       3?
7                   A     Yes, sir.
8                   Q     Is there anything identified here
9       that involves classroom training?
10                  A     No, sir.
11                  Q     Are you able to identify from
12      looking at this document whether or not there
13      were ranks above police officer and sergeant who
14      received any of the training identified in this
15      document?
16                  A     In this document, we list down who
17      was present at the training.                 So, there is a
18      caption here that says "Lieutenants."                    So,
19      according to this document, it was lieutenants,
20      sergeants and police officers who were present
21      at the training.
22                  Q     Does this identify CRV or CRV and
23      other types of trainings?
24                  A     It identifies CRV and it identifies
25      the mobilizations that we would do with the task

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1                                      JOSE VEGA
2       forces.
3                   Q     These mobilizations are the ones
4       that station took place at Randall's Island
5       outside of Icahn Stadium in the parking lot?
6                   A     Any mobilization on this document
7       that says "mobilization" and then there's a
8       caption that says "Precinct," and it says "025,"
9       that's Randall's Island Icahn Stadium.
10                  Q     What on that line identifies it as
11      Randall's Island Icahn Stadium?
12                  A     Anything that says "025," which is
13      the 25 Precinct, that is -- the Icahn Stadium
14      Randall's Island is in the confines of the 25.
15                  Q     When I see on that first page right
16      above "MOB025," there's an entry for 5/11, it
17      says "MOB063," what does that indicate?
18                  A     Those -- anything that doesn't say
19      "025" for the mobilizations, that's a precinct.
20      During that time, we will conduct mobilization
21      drills in precincts in high crime areas.                     The
22      idea was if you were a precinct commander and
23      you had a high crime area like high robberies or
24      high burglaries or something that was like a
25      felony-type of crime, they would give us that

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1                                      JOSE VEGA
2       high-crime location and we will conduct a drill
3       at that location, and the idea was that we're
4       there practicing with a lot of police officers,
5       there should be no crime occurring, and the
6       public is happy and safe.
7                   Q     Looking at the one that says on may
8       11th "MOB063," that's showing that you were at
9       the 63rd Precinct doing that training?
10                  A     Yes, sir.
11                  Q     And so on the page two of this
12      document on 5/25, it shows "MOB063" and then two
13      lines later 6/2 "MOB063," so that's indicating
14      that between May 11th and May 25th there were
15      three separate mobilization exercises training
16      at the 63rd Precinct?
17                  A     Yes, sir.
18                  Q     When it talks about "CRV010," is
19      that indicating that it's at the Javits Center,
20      and the Javits Center is within the confines of
21      the 10th Precinct?
22                  A     Yes, sir.
23                  Q     On each line there is an entry for
24      "PLT."
25                        Does that stand for platoon?

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1                                      JOSE VEGA
2                   A     Yes, sir.
3                   Q     Is that first, second or third [sic]
4       units what time the training is taking place?
5                   A     Absolutely.        The first platoon is
6       any platoon that starts after we call it 2300
7       hours and in laymen's terms it's 11 P.M.                     So,
8       the first platoon goes from 11 P.M. to depending
9       on some people start within 15 minutes of that.
10      Anytime between 11:00 o'clock in the evening and
11      7:00 o'clock in the morning.                 Our second platoon
12      goes from 7:00 o'clock in the morning to about
13      three, 3:30 in the afternoon, depending on where
14      you work, and then our third platoon goes from
15      about 3:30 til about 11, 11:30 at night.
16                  Q     The pages -- the first, second,
17      third, fourth, fifth, sixth and seventh page,
18      all say "Task Force Only" on the top of it?
19                  A     Yes, sir.
20                  Q     What does that indicate to you?
21                  A     When we were keeping the stats, we
22      wanted to differentiate who were Task Force
23      members who came to these drills and who were
24      the CRV precinct personnel who came to these
25      drills and exercises.

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1                                      JOSE VEGA
2                   Q       The Task Force meaning what?
3                           Can you explain what the Task Force
4       means, what that designation is?
5                   A       In the past, the City of New York --
6       the Police Department is broken into eight
7       patrol boroughs.          Each patrol borough had it's
8       own Task Force.          So, Manhattan North, Manhattan
9       South, Brooklyn North, Brooklyn South, Queens
10      North, Queens South, Staten Island and the
11      Bronx.          So, whenever we conducted either a
12      mobilization exercise in a precinct area or the
13      CRV one, we got a certain amount of Task Force
14      people would come.           We wouldn't take them all.
15      We'd use the average of about three forces at a
16      time.
17                  Q       Would this indicate there were no
18      precinct MOS at the trainings, solely members of
19      those eight Task Force that you've identified?
20                  A       The way the stats are kept, if it
21      said "Task Force Only," then it should only have
22      been Task Force personnel.
23                  Q       On the front page it says "DSU Level
24      I and II Mobilization."
25                          What's the distinction there between

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1                                      JOSE VEGA
2       Level I and Level II?
3                   A     Okay.     A Level I mobilization, you
4       call a Level 1 when you want a localized -- you
5       have something happen in a local area.                     So,
6       Level I you're only going to call one Task Force
7       and it's a Task Force that's in the area where
8       you're calling the Level I.                So, if you were
9       doing something let's say in the 10th Precinct,
10      which is in the confines of patrol borough
11      Manhattan South, at that time Manhattan South
12      Task Force.        A Level II mobilization you're
13      bringing out other out-of-borough Task Forces to
14      a specific borough and it's your decision to
15      decide who can we use or if they're available to
16      be used at the time.
17                  Q     Are these mobilizations called for
18      when the police are unaware of the situation and
19      it's quickly developing or is it when something
20      has been planned for a long time and they're
21      simply caught with less police officers or how
22      are they made?
23                  A     The Level I mobilizations are
24      usually called if there's a robbery.                    If there's
25      an event in which you need more resources show

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1                                      JOSE VEGA
2       up.     An example would be a robbery, a missing
3       child, a missing elderly person, and we need to
4       find them, so you call a mobilization to get
5       extra resources there to help that local
6       precinct address that situation.
7                   Q        And for Occupy Wall Street, are you
8       aware of whether there was ever a mobilization
9       called during Occupy Wall Street's existence?
10                  A        During the time of Occupy Wall
11      Street, I'm only away of two mobilizations that
12      were called.           Are we talking about from the
13      exact first day because on the first day that
14      the demonstration happened, they weren't called
15      Occupy Wall Street?            They took that name about
16      seven days later.
17                  Q        I'll define it so we could talk the
18      same.           I'll define Occupy Wall Street as having
19      begun on 9/17/11 and having finished around
20      9/17/12, more or less.
21                  A        Okay.
22                  Q        In that timeframe, how many
23      mobilizations were called?
24                  A        I was aware of three mobilizations
25      called in that time period.

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1                                      JOSE VEGA
2                   Q     Again, you're here on behalf of the
3       City of New York; correct?
4                   A     Yes, sir.
5                   Q     What was the first one that you
6       recall?
7                   A     The first one I recall was 9/24.
8       September 24th, exactly one week later and that
9       happened on Saturday.             The second one was
10      December 31th and the last one was on
11      March 17th.
12                  Q     I believe you just identified the
13      Union Square protest date of 9/24, New Year's
14      Eve?
15                  A     New Year's Eve and St. Patrick's Day
16      Parade.
17                  Q     And then the six-month anniversary.
18                  A     Which also fell on St. Patrick's Day
19      Parade.
20                  Q     Are you aware of whether or not
21      there was a mobilization called on the first day
22      on 9/17/11?
23                  A     There was no mobilization called,
24      that I was aware.           There was a detail in place
25      because on 9/17 that 11 day, I believe the

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1                                      JOSE VEGA
2       detail's name was Flood Wall Street, and their
3       idea was they wanted to bring awareness to the
4       perception of the one percent, you know, taking
5       the money from the 99 percent.                    So, there was a
6       detail in place that day, but I'm not aware if
7       there was a mobilization.
8                   Q     By detail, you mean a specific
9       number of police officers had been identified
10      and had been mustered to a certain area downtown
11      to work in that area that day?
12                  A     Yes, that's what I mean by detail.
13                  Q     Looking back at this document we've
14      identified as Vega 3, after it says -- after the
15      seven pages of text, presumably the next page
16      Bates-stamped of 14545, it says on the top "CRV
17      Running Total, PSB and T-F," can you tell me
18      what that means?
19                  A     Okay.     CRV, Critical Response
20      Vehicle running totals.              That's what that
21      acronym is for.           Underneath where it says "PSB",
22      that's Patrol Services Bureau and Task Force.
23      So, what they cataloging here is the amount of
24      people from patrol that came to the CRV
25      training, in conjunction with the amount of Task

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1                                      JOSE VEGA
2       Force people that were there also.
3                   Q     PSB stands for what?
4                   A     Patrol Services Bureau.
5                   Q     What's the distinction between that
6       and Task Force?
7                   A     The Task Force -- each Task Force
8       was that borough's Rapid Response Unit, while
9       PSB, Patrol Service Bureau, stands for people
10      that are assigned to specific precincts in the
11      police department.
12                  Q     Somebody who is a PSB would be
13      somebody who is working out of precinct and is
14      just told "This day you're going to Disorder
15      Control Training?"
16                  A     They were going to CRV training and
17      then on the day that we were calling down, they
18      receive the Disorder Control training first and
19      then they went back to their CRV post.
20                  Q     On the days that they're identified
21      here as PSB, they would have received both
22      Disorder Control training and CRV training?
23                  A     Well, let me clarify that.               You get
24      Disorder Control training and then CRV was their
25      post for the day.

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1                                      JOSE VEGA
2                             MR. STECKLOW:          I'd like to look
3                         now at what's been marked as Vega 4
4                         Which -- let's look at four and
5                         five.     I believe this one is four
6                         and this one is five.            Let me know
7                         when you've had a chance to review
8                         these two documents.
9                             THE WITNESS:         Okay.
10                  Q     Are these two documents that were
11      among the documents you were given by counsel to
12      review, prior to today's deposition?
13                  A     Yes, sir.
14                  Q     We discussed these earlier about how
15      one was issued in 1971 and the other one was
16      issued in 2017; correct?
17                  A     Yes, sir.
18                  Q     These are the two Legal Bureau
19      bulletins that involve disorderly conduct;
20      correct?
21                  A     Yes, sir.
22                  Q     Do you know if there was any other
23      Legal Bureau bulletin in between 1971 and 2017
24      regarding disorderly conduct?
25                  A     Not I that I know of, sir.

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1                                      JOSE VEGA
2                   Q     Do you know if the law changed, at
3       all, for disorderly conduct between 1971 and
4       2017 in New York?
5                   A     Not that I'm aware of, sir.
6                             MR. STECKLOW:          Let's do this one.
7                         Can you mark this one as Vega 7?
8                             (Whereupon, at this time, the
9                         above-mentioned DCU 09053 was marked
10                        by the reporter as Vega's Exhibit 7,
11                        for identification, as of this
12                        date.)
13                            MR. STECKLOW:          Starting with six
14                        and we'll get to seven.
15                  Q     Have you had a chance to look at
16      what's been marked as Vega 6?
17                  A     Yes, sir.
18                  Q     Could you identify what that is?
19                  A     This was a document from the
20      commanding officer of the Disorder Control Unit
21      to the commanding officer of the Special
22      Operations.        It says "Chief of Special
23      Operations" because when he got promoted they
24      have had to change the wording, but he is still
25      the commanding officer.              Basically, what he

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1                                      JOSE VEGA
2       would do every six months, he would ask every
3       commanding officer to identify what are you
4       going to do for the next six months.                    So, this
5       was the subject six-month plan from June 1st to
6       December 1st of 2011, and what was it that we
7       wanted to accomplish and we'll let him know
8       about it and then he'd approve or disapprove.
9                   Q     These are the types of trainings
10      Disorder Control is hoping to accomplish in the
11      following six months?
12                  A     That was what we wanted to do in
13      2011, yes, sir.
14                  Q     In all of 2011 or in the six months
15      of June 1st of 2011 to December 1st, 2011?
16                  A     In the second part, yes.              Sorry
17      about that.        From June 1st to December 1st, this
18      is what we wanted to accomplish or to continue.
19                  Q     There are how many bullet points on
20      this document?
21                  A     Eleven bullet points.
22                  Q     They each are a separate and
23      distinct training that Disorder Control is
24      looking to accomplish in the six months?
25                  A     Either a separate or distinct

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1                                      JOSE VEGA
2       training or a separate and distinct training
3       offered to a different type of unit that may not
4       be what we usually train.               So, yes, that's
5       what's listed in there.
6                   Q     Are these mobilization exercise
7       trainings, CRV trainings, classroom trainings?
8                         What type of trainings are they?
9                   A     The first bullet point is the
10      continuation of our CRV training.                  The second
11      one is the continuation of the mobilization that
12      were we were doing in the high-crime areas.
13      The third one is that we wanted to conduct and
14      continue conducting quarterly drills for the all
15      eight Task Forces at one time.
16                  Q     Could you identify what you mean by
17      drills?
18                        Are they mobilization or classroom?
19                  A     They're mobilization exercises in
20      the field to all eight Task Forces on one shot.
21                  Q     To have a large mobilization
22      exercise for all eight Task Forces in one
23      setting?
24                  A     Yes, sir.
25                  Q     At one moment in time?

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1                                      JOSE VEGA
2                   A     Yes.
3                   Q     Is that something that had been
4       ongoing, prior to this period?
5                   A     It would happen but not frequently
6       because it's a logistical nightmare to get all
7       eight Task Forces off the field at the same
8       time.
9                   Q     How many member of the service is
10      that?
11                  A     It could be up to 200 members of
12      service on one shot.
13                  Q     That would be for all eight Task
14      Forces?
15                  A     Yes, sir.
16                  Q     Continue.
17                  A     The fourth bullet of the Disorder
18      Control also conducts CBRNe training or HazMat
19      training which is chemical, biological,
20      radiological awareness classes.                    So, that was --
21      and then the HazMat technician course, that is a
22      course that's given to the layman.                    That's when
23      you have to put on an air tank and scuba gear,
24      in order to enter an area that could have been
25      attacked either with chemical weapon or

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1                                      JOSE VEGA
2       biological weapon, any atmosphere that's not
3       breathable.        So, we did that training also, so
4       we were asking to do training to our Task Force
5       personnel who are HazMat technicians.
6                   Q     Could you identify, is that a
7       classroom training, is that a mobilization
8       exercise or a drill?
9                   A     The HazMat class is a classroom
10      training.
11                  Q     Where is that conducted?
12                  A     That was usually conducted at the
13      Bronx Task Force base.             The reason why I
14      hesitated, that's now called the SRG2 base.                       I
15      always said the wrong name there.
16                            MR. STECKLOW:          Understood.
17                  Q     While you're there, and I'll come
18      back to this in a second, does Disorder Control
19      continue to do trainings, today?
20                  A     Yes, sir.
21                  Q     The same type of training it was
22      doing in 2011?
23                  A     Not the same type, no, sir.
24                  Q     Has it changed?
25                  A     Yes, sir.

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1                                      JOSE VEGA
2                   Q     How has it changed?
3                   A     We no longer to do any HazMat
4       training.        We do crowd control training, but
5       that training has changed over the years.                      We
6       conduct what the national standards when it
7       comes to our field force operations for crowd
8       control.        We also conduct tactical bike
9       training.        So, basically anything crowd control
10      related that's done on foot we can now do on
11      bicycles, and then we also conduct our M4
12      refreshers.        The members of SRG who were -- what
13      used to be the Task Force is now a response
14      group, they are deployed with M4 rifles for
15      counterterrorism deployments.                 Disorder Control
16      is in charge of conducting a refresher so they
17      know how to enter an area in case of an active
18      shooter.        So, we constantly train them in that.
19      So, that's one big change from what we used to
20      do in the past.
21                  Q     Has SRG replaced the borough Task
22      Force?
23                  A     Yes, sir.
24                  Q     The eight borough Task Force no
25      longer exist?

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1                                      JOSE VEGA
2                   A     No, sir.
3                   Q     And SRG is one large organized group
4       of personnel?
5                   A     Yes.     What they did was instead of
6       having eight Task Forces in eight areas with
7       eight commanding officers, what they did was
8       they created one SRG, Strategic Response Group.
9       They do get dressed out of five geographical
10      locations, one location for each borough, in the
11      City of New York, but they work for one
12      commanding officer.
13                  Q     Who is the CO of the SRG?
14                  A     The CO of the SRG is Inspector John
15      D'Adamo, D-A-D-A-M-O.
16                  Q     You said that you conduct a
17      refresher course on M5?
18                  A     The M4.
19                  Q     That's a specific weapon?
20                  A     Yes, sir.
21                  Q     When you say "refresher course,"
22      does that mean that there's a training on it
23      prior to you giving the refresher training?
24                  A     Yes, sir.
25                  Q     Where does that first training take

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1                                      JOSE VEGA
2       place?
3                   A     The prior training is conducted at
4       our shooting range at Rodman's Neck and that
5       qualification is done by the instructors
6       assigned to the shooting range.
7                   Q     Could you spell the name of Rodman's
8       for her?
9                   A     Rodman's Neck is R-O-D-M-A-N and
10      then neck.
11                  Q     How often do you do the M4 refresher
12      for the SRG?
13                  A     The M4 refresher is done biannually.
14      It's a four-day refresher and they go to it
15      twice a year.
16                  Q     Going back to the Vega 6, the last
17      one we were looking at was HazMat tech and it
18      also talks about refresher retraining?
19                  A     Yes.
20                  Q     This is not the initial training for
21      HazMat technicians but this is a subsequent
22      training?
23                  A     Yes, sir.
24                  Q     Where is the initial training given?
25                  A     The initial training is conducted in

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1                                      JOSE VEGA
2       one of three locations.              None of them is by
3       Disorder Control.           You either take the
4       Environmental Protection Agency's HazMat
5       technician course, which is in Edison, New
6       Jersey or you can get the HazMat technician
7       course that they conduct at Anniston, Alabama in
8       the Center for Domestic Preparedness.                    The third
9       location you can take the HazMat technician
10      course which is offered by NYPD's Emergency
11      Service Unit.
12                  Q     Why is it that Disorder Control does
13      a refresher retraining in HazMat?
14                  A     The reason why we do it is because
15      Disorder Control is in charge of the COBRA
16      deployment in the City of New York, and in that
17      deployment all members of SRG and Task Force
18      will COBRA qualify where only a certain amount
19      of members were HazMat techs.                 So, because we
20      were in charge of that detail, we also took over
21      the retraining for the refreshers of these
22      individuals so they could stay current on the
23      use of that air tank.
24                  Q     How often is an individual HazMat
25      technician required to do the refresher

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1                                      JOSE VEGA
2       retraining?
3                   A     In the past under us that was an
4       annual retraining.
5                   Q     Are there any other refresher
6       re-trainings that Disorder Control provides?
7                   A     We also currently conduct for a
8       refresher, we do do a crowd control refresher
9       which lasts one day.
10                  Q     For what rank of MSO is a crowd
11      control refresher?
12                            MS. ROBINSON:          Objection.      Are
13                        you asking him about the timeframe
14                        in the notice or current?
15                            MR. STECKLOW:          I was going to get
16                        there.
17                            MS. ROBINSON:          Because he's not
18                        being offered for anything
19                        post-Occupy.
20                  Q     Is the crowd control refresher
21      something that happens now or is it something
22      that happened between 2004 and 2011?
23                  A     It happened between 2004 and 2011
24      also.
25                  Q     How often did individuals go through

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1                                      JOSE VEGA
2       the crowd control refresher between 2004 and
3       2011?
4                   A     Anything that they did that was not
5       their initial training was always considered a
6       refresher.        So, if you went to the CRV, you're
7       being refreshed on the training.                  If you went to
8       mobilization exercise, you were being refreshed
9       on the training.          So, as long as it wasn't your
10      initial first time going through it, everything
11      else is considered a refresher.
12                  Q     Is there a specific requirement for
13      how often somebody needs to go through a
14      refresher retraining?
15                  A     No, there has never been either in
16      the City of New York or by federal standards any
17      specific requirement like hours a year that a
18      person had to go to a refresher.
19                  Q     Why does the NYPD have people go
20      through refresher re-trainings?
21                  A     Because we feel that if you have
22      someone go to training constantly then you are
23      kept up to date on how to do your job.                     Crowd
24      control training is a perishable skill.                     If you
25      don't practice it, you start to learn -- I mean,

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1                                      JOSE VEGA
2       you forget what you learned when it comes to
3       that.
4                   Q     Was this something that people went
5       through once a year, more than once a year, less
6       than once a year?
7                   A     At the minimum, at least once a year
8       everybody went through it.
9                   Q     You're talking about individuals
10      that were part in the past of the Task Force and
11      are now part of SRG; is that correct?
12                  A     Yes, sir.
13                  Q     And not members of the PSM?
14                  A     Patrol Services Bureau.
15                  Q     We are not talking go about members
16      of the PSB, but we're talking about members of
17      the Task Force or we're talking about both?
18                  A     We're talking about the members of
19      the Task Force.          We did not have control of the
20      Patrol Services Bureau and their training.
21                  Q     Let's go back to Vega 6, the next
22      bullet and the next one.
23                  A     The next bullet was we identified
24      that we needed more HazMat technicians.                     So, our
25      job was to reach out to the Center for Domestic

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1                                      JOSE VEGA
2       Preparedness in Anniston, Alabama or to the EPA
3       course in Edison, New Jersey or to ESU and find
4       out when they were offering the courses and if
5       we would get more people from the Task Forces
6       trained to the level of HazMat technician.
7                   Q     Were these re-trainings going to be
8       classroom, drills or a combination?
9                   A     For the retraining, they were all
10      going to be classroom training.
11                  Q     These would take place at the Bronx
12      Task Force?
13                  A     If we did them, yes, it would be
14      taken care of in that building, yes.
15                  Q     The next one?
16                  A     The next one, the next bullet point,
17      basically, we identify we have our own scuba
18      tanks, but those tanks were different than what
19      other units would use.             So, what we wanted to do
20      was to make sure that we could exchange those
21      tanks to the ones that everybody else so they
22      could -- we could all -- everyone had the same
23      equipment so if there was an emergency I could
24      just trade out a tank without a problem.
25                  Q     Is that less of a training and more

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1                                      JOSE VEGA
2       of a equipment issue?
3                   A     Yeah, that was we identified a
4       logistical issue, when it came to that.
5                   Q     The next bullet point?
6                   A     Continuation of command post
7       training and exercises.              As I stated earlier, we
8       had a class for new sergeants, new lieutenants
9       and new captains during their training period
10      when they first got promoted.                 The class is
11      called the Command Post Operations course.                      So,
12      what we wanted to was to ensure that we could
13      keep on conducting that class.
14                  Q     The Command Post Operations course,
15      could you explain a little bit about what that
16      was?
17                  A     Yes, sir.       A Command Post Operations
18      course was a one-day course that was offered to
19      all newly-promoted sergeants, lieutenants and
20      captains.       It consisted of lectures and
21      classroom training.            The lectures were on
22      demonstrated tactics, then our NYPD tactics.
23      The other lecture was the Command Post
24      Operations how to set up a command post, how to
25      get it up and running and what equipment you

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1                                      JOSE VEGA
2       needed if you were going to be doing an ongoing
3       detail or affair or anything that you needed a
4       command post up and you wanted to facilitate the
5       coordination of resources and communication.                        In
6       the last part of the training, we broke the
7       class into smaller units and then we gave them
8       an exercise.        Basically, they had to run either
9       a parade or a protest and then we would give
10      them like inputs to test their knowledge on what
11      we taught them throughout the day.
12                  Q     This was a classroom training, as
13      well as an exercise training?
14                  A     But it was all -- it was classroom
15      and exercise, but all conducted in the
16      classroom.        That type of exercise is a
17      functional exercise.            Basically, you sit in a
18      classroom setting, we give you a map and some
19      handouts and then we tell you "This is
20      happening.        How would you have handled it?" and
21      they take care of it that way.
22                  Q     Did these trainings involve
23      standards of probable cause for arrest?
24                  A     No.    This was only on how to set up
25      a command post and how to run it, in case you

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1                                      JOSE VEGA
2       had a demonstration or some longstanding issue
3       that necessitated having a command post set up.
4                   Q     Did this include any instruction on
5       disorderly conduct statute and how it is in play
6       during sidewalk protests?
7                   A     No, we do not teach anything when it
8       came to that.
9                   Q     Let's go onto the next one.
10                  A     The next one is we have command post
11      training exercises that we will conduct for
12      people assigned to patrol boroughs.                   So, this
13      exercise was basically a classroom training and
14      basically we gave them a scenario and they will
15      have to explain to us how they will handle.
16                  Q     I will ask you the same question,
17      did this involve any probable cause standards
18      training?
19                  A     No, sir.
20                  Q     Any instruction in probable cause
21      standards?
22                  A     No, sir.
23                  Q     Did it involve any instruction in
24      disorderly conduct standards and how it was in
25      play in sidewalk protests?

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1                                      JOSE VEGA
2                   A     No, sir.
3                   Q     Going to the next bullet point, did
4       that training involve any probable cause
5       standards instruction?
6                   A     No, sir.
7                   Q     Did that training involve any
8       instructions on First Amendment standards,
9       disorderly conduct standards, and how they were
10      played in sidewalk protests?
11                  A     No, sir.      Those two bullet points
12      you just brought up, that were command post
13      training for other members of service assigned
14      to the patrol boroughs and how they would handle
15      a situation that would arise.                 It could've been
16      either a parade or a high-impact game and, you
17      know, how they would deal with a crowd issue.
18                  Q     Looking at the last bullet point on
19      this page, it talks about academy training by
20      Disorder Control; is that accurate?
21                  A     Yes, sir.
22                  Q     Did Disorder Control conduct
23      training at the academy for each recruit class?
24                  A     No, not all the time.
25                  Q     It would happen sometimes?

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1                                      JOSE VEGA
2                   A     What happened was we had -- we
3       had -- from the time I was in the unit to the
4       spring of 2005, we conducted disorder control
5       training for the academy class.                    From 2005 to, I
6       believe, the late 2011 or early 2012, the Police
7       Academy decided that they wanted to centralize
8       all training, so their training staff conducted
9       disorder control training.                 Then in late 2011 or
10      early 2012, Disorder Control Unit took back that
11      one day of training with the recruits.
12                  Q     During the time period that Disorder
13      Control did conduct training at the academy,
14      which is obviously, I think, prior to 2011 and
15      then subsequent to 2011; is that accurate?
16                  A     Yes.
17                  Q     Did any of the training involve
18      standards of probable cause for arrest?
19                  A     No, because what we conducted was
20      crowd control training on line and wedge
21      formations, mass arrests in case of a riot.
22      That's what we were getting them ready for.
23                  Q     While Disorder Control was doing
24      trainings at the academy for recruits, did the
25      training include any instruction on the First

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1                                      JOSE VEGA
2       Amendment?
3                   A     We don't do that part.             But all
4       recruits, one of their core comps that I receive
5       from the academy, they get law instruction.                       So,
6       during that law instruction, it goes over the
7       Constitution, all the amendments and how they
8       pertain to all the statutes that they have to
9       cover in the City of New York.
10                  Q     Does Disorder Control conduct that
11      training?
12                  A     No, sir.
13                            MR. STECKLOW:          Please try and
14                        restrict your answer to the
15                        questions I'm asking and we'll get
16                        through this a lot faster.
17                            THE WITNESS:         Okay.
18                  Q     During the time that Disorder
19      Control conducted training at the academy for
20      the recruits, did they give any instruction on
21      disorderly conduct statutes and sidewalk
22      protests?
23                  A     The only time that we would mention
24      disorderly conduct was during our mass arrest
25      lecture and our mass arrest training.

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1                                      JOSE VEGA
2                   Q     That would be at the recruit
3       training?
4                   A     Yes, sir.
5                   Q     What would you say at the recruit
6       training involving disorderly conduct and
7       sidewalk protests?
8                   A     We would explain to them that when
9       we had to arrest people for disorderly conduct
10      statute, the first thing that it had -- it's a
11      violation.        So we're always stressing in the
12      doesn't that they had to see it, it had to be in
13      their view.        If they didn't see it, obviously,
14      they cannot take the arrest.                 Number two, we had
15      to explain to them that when it came to block
16      sidewalk or blocking a street, it has to be real
17      blocking.       It can't be like if someone is
18      standing and the person is walking up to them,
19      they walked around them.              It has to be that
20      people cannot walk passed them and that the
21      protestor was doing this on purpose.                    It wasn't
22      a mistake or an accident.               So, that's how we
23      stressed it when we taught the mass arrest part.
24                  Q     Is that something that was contained
25      in any writing or any handout that was given to

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1                                      JOSE VEGA
2       the recruits?
3                   A      We didn't give out any handouts at
4       all.        There was a Power Point on mass arrest and
5       in that Power Point it explains that -- there
6       was just a quick part of it said that it had to
7       be in their view when it came to a violation.
8                   Q      The standard you gave about the
9       blocking of sidewalk, how was that conveyed to
10      the recruits?
11                         Was it conveyed in writing, was it
12      conveyed as a Power Point or was it conveyed
13      solely verbally?
14                  A      That was conveyed verbally.
15                  Q      There's no documentation of that
16      message being given to the recruits?
17                  A      Not that I'm aware of, sir.
18                  Q      On any of the trainings that we've
19      gone through that's documented by Vega 6, were
20      there any instructions given on dispersal
21      orders?
22                  A      We would explain about the dispersal
23      orders.         We would always emphasis that we don't
24      come up with the dispersal orders.                   The Legal
25      Bureau would give them to us.                 They vet them to

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1                                       JOSE VEGA
2       make sure that what we're reading was correct
3       and then we'd explain to them that when we do
4       dispersal orders, we've always, from the past to
5       even to now, tell them that, number one, make
6       sure you have someone in the back of the crowd
7       much and when you give those orders they're
8       dealt.          If someone at the back of the crowd
9       hears them, then common sense dictates that
10      everyone between me and the officer at the end
11      could also hear the dispersal orders.                    The other
12      part was the arresting officers, obviously, the
13      dispersal orders are probably being given for
14      violation.          They have to be present.            We have to
15      see what we're telling them to disperse from, in
16      order for them to articulate properly when it
17      goes to court.
18                  Q       Did any of the dispersal order
19      training include how to craft an appropriate
20      dispersal order?
21                  A       No.
22                  Q       There was no training given on
23      requirement to give an alternative location for
24      protest activity, when giving a dispersal order?
25                  A       What -- could you clarify that?               Do

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1                                      JOSE VEGA
2       you mean that if I told someone to leave
3       somewhere, am I telling them to go somewhere
4       else and they'll be okay; is that what the
5       question is?
6                   Q     Yes.
7                   A     We do tell them that because the
8       dispersal order means if you leave the area
9       where you are now -- if you don't leave the area
10      you're going to get arrested.                  So, the order, as
11      long as they know to move and we tell them where
12      they can go, there should be no issue.
13                  Q     Is there instruction given by
14      Disorder Control and any of these forces on how
15      to craft an appropriate dispersal order that
16      includes an alternative location for protest?
17                  A     No, we don't do that training.
18                  Q     When you just discussed that you do
19      give out the idea that people need to be told to
20      leave and go somewhere else, in which training
21      is that given?
22                  A     The Legal Bureau has attorneys and
23      officers that are attorneys and they conduct
24      training with recruits and other members of the
25      service and they go over that part.

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1                                      JOSE VEGA
2                   Q     We did they conduct that training?
3                   A     I don't know what time for the
4       recruit training that that law part comes.
5                   Q     Do you know if they have any
6       refresher training, regarding those issues?
7                   A     For the recruits?
8                   Q     Yes.
9                   A     Or for the Task Force or sergeant?
10                  Q     For any members of the service.
11                  A     The recruits get six months of
12      training.       So, during those six months they go
13      over the law constantly.               So, they are told from
14      day one to the last day, they go over the
15      disorderly conduct because that is one of the
16      main things that you will do when it comes to
17      crowd control.
18                            MR. STECKLOW:           I was asking about
19                        refresher training.
20                  Q     Is refresher training given at the
21      academy to recruits during their cadet time?
22                            MS. ROBINSON:           Objection.     You
23                        can answer, if you know.
24                  A     No, there's no refresher training
25      that I know of because they're there from --

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1                                      JOSE VEGA
2       they're getting initial training for six months
3       on how to do the job.
4                   Q     When I'm asking about refresher
5       training, obviously, we're not talking about
6       that timeframe.
7                   A     Right.
8                   Q     So, I was asking you if you know of
9       any refresher training --
10                            MR. STECKLOW:          Withdrawn.
11                  Q     We have already discussed refresher
12      training when it comes to the M4 weapon?
13                  A     Yes, sir.
14                  Q     And when it comes to HazMat;
15      correct?
16                  A     Yes, sir.
17                  Q     I'm asking now, is there refresher
18      training given when it comes to the disorderly
19      conduct statute?
20                  A     Not that I'm aware of.             I know
21      members of service receive refresher training,
22      something called "Intac", in-service training,
23      and they're required to go there twice a year.
24      Now, what they go over different things.                      At
25      times, they've gone over crowd control stuff,

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1                                      JOSE VEGA
2       but I'm not sure in they're conducted every
3       single time.
4                   Q     Who conducts the Intac training?
5                   A     That is conducted by member assigned
6       to the leadership training section of the police
7       academy.
8                   Q     It's not by Disorder Control?
9                   A     No, sir.
10                  Q     You believe it's by members of the
11      academy who conduct the Intac training?
12                  A     Yes, sir.
13                  Q     And the Intac training is given to
14      all levels of members of the service, all ranks?
15                  A     It's given to ranks under --
16      lieutenants, sergeants, police officers assigned
17      to patrol.
18                  Q     At what point are refresher courses
19      given to captains, deputy inspectors,
20      inspectors, assistant chiefs, deputy chiefs and
21      chiefs?
22                  A     I know that once a year all
23      executives receive all-out training.                    That means
24      that every executive is brought together at the
25      police academy and they receive training over

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1                                      JOSE VEGA
2       any relevant issues they need to know about.
3                   Q     Do you know whether or not that
4       includes disorderly conduct statute and how it
5       affects persons and protest activity on
6       sidewalks?
7                   A     I know they go over disorderly
8       conduct statutes.           They go over how to handle
9       demonstration.          I don't know if it's specific to
10      a sidewalk.
11                  Q     Have you attended these trainings?
12                  A     No.    Those are only for executives,
13      captains or above.
14                  Q     How is it that you know that they go
15      over disorderly conduct statutes at the
16      trainings?
17                  A     Because my last three commanding
18      officers, whenever they've gone, they get a
19      handout and they come back and they go over what
20      the topics are.
21                  Q     How big is this handout?
22                  A     The size of a pamphlet, I'm going to
23      say.
24                  Q     In the pamphlet, it goes over
25      everything that they have reviewed at the

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1                                      JOSE VEGA
2       training?
3                   A     Yes, sir.
4                   Q     Your memory is that includes
5       disorderly conduct?
6                   A     Yes.
7                   Q     Has that been in every one of the
8       trainings that these superior officers came back
9       from?
10                  A     No.
11                  Q     Which ones do you recall the
12      disorderly conduct statute being discussed?
13                  A     There's one that my old commanding
14      officer, Anthony Raganella, went to and that was
15      discussed.        The timeframe that one I don't
16      remember.
17                  Q     Do you know where that training was
18      taken?
19                  A     All that executive training, when
20      they bring them all out is conducted at the
21      police academy.
22                              MR. STECKLOW:         Obviously, we'll
23                        make a request in writing following
24                        this, but we're going to ask for the
25                        production of any of these handouts

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1                                       JOSE VEGA
2                           that were at the superiors' Intac
3                           training at the police academy.
4                   Q       Is that what it's called?
5                   A       Well, for the nonexecutives, it's
6       Intac.          For the executives, I believe it's
7       called "All Out."
8                              MR. STECKLOW:         We will make a
9                           request for the All Out training
10                          materials.
11                             MS. ROBINSON:         Noted.
12                             MR. STECKLOW:         Let's get to
13                          seven.     I think you have seven
14                          already.     Please review seven and
15                          let me know when you've had an
16                          chance to do so.
17                  Q       Have you had a chance to review Vega
18      7?
19                  A       Yes, sir.
20                  Q       What is this document?
21                  A       This is a proposal that was proposed
22      by Lt. Schwach when he was -- they never gave
23      him the title of commanding officer.                    The title
24      they gave him was lieutenant-in-charge, when he
25      was in charge of Disorder Control.                    He had a

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1                                      JOSE VEGA
2       proposal to retrain all the borough Task Forces
3       in all topics pertaining to crowd control.
4                   Q     Was this approved?
5                   A     No.
6                   Q     Why was it not approved?
7                   A     That's above my pay level.               That
8       went to Chief Camandano (phonetic) at the time
9       and that's all I know about that one.
10                  Q     Do you know whether this was
11      instituted or not instituted?
12                  A     It was not instituted.
13                  Q     Do you see on these second and third
14      page under Training Type, it has some that say
15      "lecture," some that say "hands on?"
16                  A     Yes, sir.
17                  Q     Would that distinguish between a
18      mobile exercise drill would be hands on and
19      lecture would be classroom?
20                  A     Lecture means classroom instruction.
21      Hands-on training means that we'd be in the
22      field doing training.
23                  Q     Do you know if any of the specific
24      sub items were instituted into Disorder Control
25      training?

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1                                         JOSE VEGA
2                   A        This training was always in Disorder
3       Control.           What he wanted to do was he just -- he
4       proposed this because he wanted to start doing
5       it again on a more regular basis.
6                   Q        When it was declined, did that mean
7       they didn't do it on a regular basis but they
8       continued to do it in some fashion?
9                   A        Yes.     When it was declined, he
10      wanted this to be formalized and to be scheduled
11      so every single person could come at a specifics
12      date.           It was declined but this training still
13      occurred in different phases like if we did an
14      exercise then we did crowd control formations or
15      mass arrest tactics or barrier devices.
16                  Q        Do you see the column that says
17      "Time?"
18                  A        Yes.
19                  Q        Were those times as part of the
20      training that did take place or these were the
21      times that were suggested for the
22      more-formalized one that Lt. Schwach wanted?
23                  A        The time that he had there was the
24      suggestion for this formalized training because
25      he wanted to show how we were -- where the eight

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1                                       JOSE VEGA
2       hours of training among the two days would go.
3                   Q       When Disorder Control conducted
4       training in 2011, how many hours of training
5       were conducted for each group that came for
6       training?
7                   A       When we did the CRV training, it
8       usually ran between 30 minutes to an hour, no
9       more than that, because they had to get on their
10      posts.          The CRV post is a counterterrorism post.
11      So, they wanted them to be covered.                   When we did
12      the mobilization exercises in the high-crime
13      areas, it ran for no more than 60 minutes.                      Then
14      when we did the larger ones in Randall's Island,
15      that could go anywhere between two to four
16      hours.
17                  Q       There are 16 hours of time in this
18      document; correct?
19                  A       For the formalized training, yes,
20      sir.
21                  Q       You just identified that there was
22      no more than two to four hours on the training
23      that were done by Disorder Control; correct?
24                  A       Yes, sir.
25                  Q       What parts of this were not covered

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1                                      JOSE VEGA
2       because it was not the 16 hours but it was two
3       to four hours?
4                   A       Well, the first thing that we don't
5       cover, the command post management and table
6       exercise, that was a tabletop exercise.                     So we'd
7       go over how to run a command post because at the
8       time Task Force was in charge of open command
9       posts.          So, we'd go over how to run a command
10      post, how to open it and then they would get a
11      tabletop exercise on running a situation.                      So,
12      that's never done on the field.
13                  Q       Without explanation, just identify
14      which ones were not part of the Disorder Control
15      training?
16                  A       The command post management and
17      tabletop exercise.           The less lethal munitions
18      review.          The NYPD mobilization system and sims,
19      and the legalities of civil disorder,
20      introduction to civil disorder and you're
21      welcome administration.
22                  Q       You just said "introduction to civil
23      disorder," but did you mean "introduction to
24      disorder control?"
25                  A       I'm sorry.     Introduction to disorder

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1                                      JOSE VEGA
2       control.        I'm sorry.
3                   Q     The ones that you just identified
4       are the ones that were not part of Disorder
5       Control training?
6                   A     They're not part when we do the
7       field training for the one hour and two hours
8       and three hours.
9                   Q     I believe it was Vega 3, all of the
10      training identified in Vega 3 included just the
11      field training; correct?
12                  A     Yes, sir.
13                  Q     The items that you've just
14      identified as not being included in the field
15      training means that the individuals trained in
16      Vega 3 did not get those trainings?
17                  A     Right, because the stuff listed in
18      Vega 3 is field training.               The items that I told
19      you that were excluded were classroom training.
20                            MR. STECKLOW:          Let's mark this --
21                        are we up to eight?
22                            (Whereupon, at this time, the
23                        above-mentioned 1/16/12 memo was
24                        marked by the reporter as Vega's
25                        Exhibit 8, for identification, as of

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1                                      JOSE VEGA
2                         this date.)
3                   Q     Have you had a chance to review what
4       was marked as Vega 8?
5                   A     Yes, sir.
6                   Q     What's this document?
7                   A     This is an e-mail between my
8       commanding officer and another individual.                      The
9       e-mail was going over -- the NYPD has a book
10      that's about 65 pages long called "The Disorder
11      Control Guidelines Booklet."                  It was initially
12      published in 1993, revised in '97, and the
13      e-mail was is there any substantive changes from
14      the book from then to the time of this e-mail.
15                  Q     Did they go through --
16                              MR. STECKLOW:         Withdrawn.
17                  Q     Does the document identify what
18      areas should be added or revised in the booklet?
19                  A     Yes, sir.
20                  Q     Does that include anything regarding
21      disorderly conduct?
22                  A     No.
23                  Q     Does it include anything regarding
24      the First Amendment?
25                  A     No.

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1                                      JOSE VEGA
2                   Q     Does it include anything regarding
3       dispersal orders at protests?
4                   A     No.
5                   Q     Does it include anything involving
6       sidewalk protest standards for policing?
7                   A     No.
8                               MR. STECKLOW:         Let's mark this as
9                         Vega 9 for identification.
10                              (Whereupon, at this time, the
11                        above-mentioned 8/11/11 memo was
12                        marked by the reporter as Vega's
13                        Exhibit 9, for identification, as of
14                        this date.)
15                              MR. STECKLOW:         Let me know when
16                        you're finished looking at that
17                        document.
18                              THE WITNESS:        Yes, sir.
19                  Q     Do you recognize this document?
20                  A     Yes, sir.
21                  Q     What's this document?
22                  A     This was a document from my
23      commanding officer to the deputy commissioner of
24      public information stating that we were -- we,
25      the Disorder Control Unit, was going to conduct

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1                                        JOSE VEGA
2       a full scale Level II mobilization exercise on
3       Randall's Island on a specified date.
4                   Q        Do you have an understanding as to
5       why on this particular date, August of 2011,
6       there was going to be a full scale Level II
7       mobilization exercise?
8                   A        Yes, sir.
9                   Q        Why is that?
10                  A        It was conducted in August because
11      September is usually the time when the United
12      Nations General Assembly is in session.                     There's
13      always a lot of protest activity there.                     So, we
14      felt that if we got ready in August, we'd have
15      the United Nations General Assembly covered.                        We
16      also have the U.S. Open which comes up at the
17      time.           Not that I'm picking on them, but my
18      team, the Yankees, are always in the playoffs.
19      So, we had a feeling late September playoff
20      games, early October maybe the World Series.
21      So, we felt that was a good time for them to get
22      ready for a lot of the upcoming events that were
23      occurring.
24                  Q        In August of 2011, did the City of
25      New York know Occupy Wall Street was going to be

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1                                      JOSE VEGA
2       a protest that was happening in September of
3       2011?
4                   A     Not that I'm aware of, sir.
5                   Q     Did the City of New York know that
6       it was happening?
7                   A     Probably not.
8                   Q     Did this mobilization exercise
9       occur, in part, due to Occupy Wall Street coming
10      to New York City in September of 2011?
11                  A     No, not that I'm aware of also.
12                  Q     Were these mobilization exercises,
13      classroom exercises or a mix?
14                  A     This one exercise on this document
15      was just all field training.
16                  Q     Was there any training as part of
17      this in disorderly conduct standards?
18                  A     No.
19                  Q     Was there any training as part of
20      this Level II mobilization in First Amendment
21      activity?
22                  A     No, sir.
23                  Q     Was there any training or
24      instruction, as part of this full scale Level II
25      mobilization in August of 2011, involving the

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1                                      JOSE VEGA
2       standards of arrest for sidewalk protests?
3                   A     No, sir.
4                   Q     Was there any training or
5       instruction in this full scale Level II
6       mobilization in August of 2011 that involved the
7       proper creation of dispersal orders?
8                   A     No, there was nothing there about
9       the proper creation of dispersal orders.
10                  Q     Was there anything about dispersal
11      orders, at all?
12                  A     Part of this exercise was after we
13      conducted the training, we had cadets as actors
14      so they were to take over a part that we made
15      like a sidewalk area and a street area.                     They
16      were to block the road.              We were going to then,
17      as part of this exercise, clear this road first
18      by giving them orders and then by either
19      removing them out of the way or arresting them
20      during the exercise.
21                  Q     Did the instruction or training
22      include the same type of sidewalk protest as it
23      did in street protest?
24                  A     What we did it -- this exercise
25      basically was they were blocking the street.                        We

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1                                      JOSE VEGA
2       didn't use anything with the sidewalk.
3                             MR. STECKLOW:          Next let's mark
4                         this as Vega 10.
5                             (Whereupon, at this time, the
6                         above-mentioned 12/20/11 memo was
7                         marked by the reporter as Vega's
8                         Exhibit 10, for identification, as
9                         of this date.)
10                  Q     Have you had a chance to review Vega
11      10?
12                  A     Yes, sir.
13                  Q     Have you seen this document before?
14                  A     Yes, sir.
15                  Q     Could you describe what it is?
16                  A     This document went from my
17      commanding officer to the commanding officer of
18      the Special Operations Division, and basically
19      it delineated the results of our disorder
20      control training conducted for the Occupy Wall
21      Street movement.
22                  Q     Who was the commanding officer of
23      the Special Operations Division?
24                  A     At that -- at that time 2011, it
25      would be Chief Wheaton.              Harry J. Wheaton.

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1                                      JOSE VEGA
2                   Q     Who is it currently?
3                   A     Still Harry J. Wheaton.
4                   Q     Was Chief Wheaton the commanding
5       officer of Special Operations Division all
6       through 2004 to 2011?
7                   A     No.
8                   Q     At what point did he become the
9       chief of Special Operations Division?
10                  A     He took over as chief of Special
11      Operations Division, I believe, June or July of
12      2011.
13                  Q     Is this a report summarizing
14      disorder control training that had already
15      occurred?
16                  A     Well, what this report summarizes is
17      the training between November 7th and I see the
18      date here December 9th that we conducted
19      disorder control training for various units in
20      the department to get them ready for the Occupy
21      Wall Street movement.
22                  Q     This is a memo discussing training
23      in disorder control conducted specifically for
24      --
25                              MR. STECKLOW:         Withdrawn.

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1                                      JOSE VEGA
2                   Q     This document summarizes training
3       that Disorder Control gave to members of the
4       service, specifically related to the Occupy Wall
5       Street movement?
6                   A     Yes, sir.
7                   Q     And for the members of the service
8       to properly police the Occupy Wall Street
9       movement?
10                  A     I don't know about the properly
11      police part.        Our part was to get them ready for
12      civil disobedience, civil disturbance,
13      demonstrations and protests.                 So, that's what we
14      conducted our training for.
15                  Q     Do all demonstrations and protests
16      involve civil disobedience and civil disorder?
17                  A     No.
18                  Q     How would you distinguish that in
19      the trainings to these members of the service?
20                  A     When we go over any training, we get
21      them ready for what could be the worst thing.
22      But we remind them that the stats say between
23      95, 99 percent of the time, every protest
24      nothing happens.          We're getting you ready for
25      that one to five percent in case something

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1                                      JOSE VEGA
2       happens.
3                   Q     Did Disorder Control do any training
4       for the other 95 percent of the protest times
5       when people were not involved in civil
6       disobedience?
7                   A     We conducted training before Occupy
8       Wall Street and we've conducted after Occupy
9       Wall Street, so obviously, we have.
10                  Q     The training that are summarized in
11      this Vega 10 document that are related to Occupy
12      Wall Street, did they identify trainings that
13      were given for that other 95 percent when there
14      wasn't civil disorder or civil disobedience?
15                  A     We went over the same -- we gave
16      them the same exact training that everybody else
17      got.        What this document summarized was they
18      brought in other units that were not Task Forces
19      to get trained because they felt we needed more
20      people in case we had large amounts of
21      demonstrators and we didn't have enough Task
22      Force people.
23                  Q     These were members of Patrol
24      Services Bureau coming in?
25                  A     Some were Patrol Services.               Some of

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1                                      JOSE VEGA
2       them were specialized units.
3                   Q     Specialized units could mean Scooter
4       Patrol?
5                   A     It could be scooter.             It could be
6       School Safety.         It could be members assigned to
7       the Organized Crime Control Bureau.                   It could
8       also be people assigned to Counterterrorism or
9       to, I believe, also One Police Plaza.
10                            MR. STECKLOW:          Let's look at
11                        School Safety for a second.
12                            THE WITNESS:         Okay.
13                  Q     What division or what bureau is
14      School Safety?
15                  A     I think they're their own division.
16      They formed a School Safety -- there's a School
17      Safety Division that they fall under.
18                  Q     What was their normal job, the
19      School Safety?
20                  A     Patrolling the schools and keeping
21      them safe.
22                  Q     But they members of the NYPD?
23                  A     Yes, sir.
24                  Q     They go through recruit training and
25      cadet training?

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1                                      JOSE VEGA
2                   A     Yes.     These members are normal NYPD
3       police officers, but they are assigned to the
4       School Safety Division.
5                   Q     According to this document, you
6       trained 134 members of the School Safety
7       Division?
8                   A     Yes, sir.
9                   Q     You trained 420 members of the
10      Organized Crime Control --
11                  A     Organized Crime Control Bureau, yes,
12      sir.
13                  Q     Sixty one members of the Detective
14      Bureau?
15                  A     Yes, sir.
16                  Q     Three hundred seventy-five members
17      of the One Police Plaza?
18                  A     Yes, sir.
19                  Q     Seventy members of Counterterrorism?
20                  A     Yes.
21                  Q     One hundred forty-three members of
22      the Patrol Borough Bronx?
23                  A     Patrol Borough, Brooklyn North
24      Impact.
25                  Q     And 143 members of that division?

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1                                      JOSE VEGA
2                   A     Yes.
3                   Q     And 69 members of the Patrol Borough
4       Bronx Impact?
5                   A     Yes, sir.
6                   Q     And 124 members of the Housing?
7                   A     Yes.
8                   Q     And 16 members of Patrol Borough
9       Manhattan North Scooter Task Force?
10                  A     Yes, sir.
11                  Q     In this time period of November 7th
12      through December 9th, 2011, Disorder Control
13      trained 1,412 members of the service,
14      specifically in relation to Occupy Wall Street?
15                  A     These people listed here, yes, those
16      are the numbers we trained specified for that.
17                  Q     Were these mobile exercises or
18      classroom training?
19                  A     They were all on the field.
20                  Q     Did you give any training to these
21      1400 members of the service in disorderly
22      conduct statute?
23                  A     No, the field training doesn't go
24      over that.
25                  Q     Did you give them any training in

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1                                      JOSE VEGA
2       relation to probable cause standards?
3                   A     No, sir.
4                   Q     Did you give them any training in
5       First Amendment activity?
6                   A     No, sir.
7                   Q     Did you give them any training in
8       sidewalk protest standards?
9                   A     No, sir.
10                            MR. STECKLOW:          I'm going to mark
11                        this one as Vega 11.            I only have
12                        this one copy so we'll all have to
13                        look it over together.
14                            (Whereupon, at this time, the
15                        above-mentioned 3/2/11 NYPD document
16                        was marked by the reporter as Vega's
17                        Exhibit 11, for identification, as
18                        of this date.)
19                            MR. STECKLOW:          Back on the
20                        record.
21                  Q     Have you had a chance to review
22      what's been marked as Vega 11?
23                  A     Yes, sir.
24                  Q     What's that document?
25                  A     This is a document from the

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1                                      JOSE VEGA
2       commanding officer, Disorder Control Unit, to
3       the commanding officer of Special Operations.
4       It was basically a summary of training
5       conducted -- all the training that we conducted
6       over, I believe, a two-or-three year period.
7                   Q     This was from March of 2011?
8                   A     Yes, sir.
9                   Q     Looking at number two in here, it
10      identifies various types of trainings that took
11      place?
12                  A     Yes, sir.
13                  Q     Which of those trainings were
14      classroom trainings?
15                  A     Which were or were not?
16                  Q     Which were?
17                  A     The tabletop exercise is classroom
18      training.       Functional exercise is classroom
19      training.       The advanced COBRA refresher known as
20      ACR is classroom training.                Command post
21      operations is classroom training and the unusual
22      disorder plan is classroom training.
23                  Q     The tabletop exercises, did those
24      involve First Amendment training?
25                  A     No, not that I'm aware.

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1                                      JOSE VEGA
2                    Q    Did they involve training in the
3        disorderly conduct statute?
4                    A    No.
5                    Q    Did they involve training in
6        dispersal orders?
7                    A    No.
8                    Q    The next one that you said was
9        classroom was the --
10                   A    Functional exercise.
11                   Q    Did the functional exercise involve
12       First Amendment training?
13                   A    No.
14                   Q    Did it involve disorderly conduct
15       statute training?
16                   A    No.
17                   Q    Did it involve any training in
18       sidewalk protest?
19                   A    No.
20                   Q    What was next one?
21                   A    The next one was the advanced COBRA
22       refresher.
23                   Q    Did the advanced COBRA refresher
24       training involve First Amendment activity?
25                   A    No, sir.

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1                                      JOSE VEGA
2                    Q    Did it involve standards of
3        disorderly conduct statute?
4                    A    No, sir.
5                    Q    Did it involve sidewalk protest and
6        how to properly police sidewalk protests?
7                    A    No, sir.
8                    Q    The next one that was classroom
9        training was --
10                   A    The Command Post Operations.
11                   Q    Did the Command Post Operations
12       involve First Amendment activity?
13                   A    No, sir.
14                   Q    Did the lecture on Command Post
15       Operations involve any training in disorderly
16       conduct statute?
17                   A    No, sir.
18                   Q    Did the instruction in classroom
19       training in Command Post Operations involve any
20       standards of proper policing of sidewalk
21       protests?
22                   A    Not for the sidewalk protests, no.
23       The last one Unusual Disorder Plan Training.
24                   Q    Did that involve classroom training?
25                   A    That's classroom training, yes, sir.

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1                                      JOSE VEGA
2                    Q    Did that involve First Amendment
3        training?
4                    A    No, sir.
5                    Q    Did that involve any instruction on
6        the First Amendment whatsoever?
7                    A    Excuse me.        No, sir.
8                    Q    Did it involve any instruction on
9        disorderly conduct statute?
10                   A    No, sir.
11                   Q    Did it involve any instruction on
12       proper and constitutional policing of sidewalk
13       protests?
14                   A    Not for the sidewalk protest, no,
15       sir.
16                   Q    This training included members of
17       service of all ranks; correct?
18                   A    Yes, sir.
19                   Q    Not just the sergeants or
20       lieutenants and sergeants and police officers;
21       correct?
22                   A    Yes, sir.
23                   Q    But it included captains, deputy
24       inspectors, inspectors and chiefs; correct?
25                   A    Yes, sir.

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1                                      JOSE VEGA
2                    Q    This was a document summarizing how
3        many officers were trained in these various
4        exercises by Disorder Control between 2009 and
5        2011?
6                    A    Yes, sir.
7                    Q    The total number of officers that
8        came through these various trainings was 24,835?
9                    A    Yes, sir.
10                   Q    That included 22 chiefs?
11                   A    Yes.
12                   Q    And 29 inspectors?
13                   A    Yes.
14                   Q    And 37 deputy inspectors?
15                   A    Yes.
16                   Q    And 184 captains?
17                   A    Yes.
18                   Q    And 1,456 lieutenants?
19                   A    Yes.
20                   Q    And 3,402 sergeants?
21                   A    Yes.
22                   Q    And 18,352 police officers or
23       detectives?
24                   A    Yes.     This lists the people that
25       were trained.        The only flaw in this is if you

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1                                      JOSE VEGA
2        have a chief who came to this training five
3        times, he's counted five times.                   So, it doesn't
4        mean there was 22 separate chiefs, that it just
5        means that 22 members of service in the rank of
6        chief came to -- to these numbers, it doesn't
7        mean it was 1,800 individual officers.                    Some of
8        them may have gone to multiple training
9        exercises.
10                   Q    I think what you're saying is this
11       doesn't mean when it says 22 chiefs, it doesn't
12       mean that 22 distinct chiefs?
13                   A    Yes, sir.
14                   Q    It could be the same chief came five
15       times and therefore it would count as five?
16                   A    Yes.
17                   Q    These numbers are just showing how
18       many bodies of these ranks came through and had
19       this training?
20                   A    Yes, sir.
21                   Q    Is this the entire summary of
22       trainings that Disorder Control gave between
23       2009 and 2011?
24                   A    On this document, this is the entire
25       summary of trainings that we had conducted.

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1                                      JOSE VEGA
2                    Q    There is no other training that
3        Disorder Control gave in this timeframe that's
4        not identified in this document?
5                    A    Not that I'm aware of.
6                             MR. STECKLOW:           I think the time
7                         is now 1:00 o'clock on the dot.
8                         We're going to take a one-hour lunch
9                         break and we'll all be back here at
10                        two P.M.       I'm turning this off.
11                            (Whereupon, at this time a lunch
12                        recess was taken.)
13                            MR. STECKLOW:           The time is now
14                        2:15.     My name is Wylie Stecklow and
15                        we're in my office for the continued
16                        deposition of Sgt. Vega.              All the
17                        same parties are in the room.                 Good
18                        afternoon, Sgt. Vega.
19                            THE WITNESS:          Good afternoon.
20                   Q    Do you know the acronym FURHOOD,
21       F-U-R-H-O-O-D?
22                   A    Fort Hood?
23                   Q    FURHOOD, F-U-R-H-O-O-D.
24                   A    I'm not -- I don't know what that
25       acronym stands for.

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1                                      JOSE VEGA
2                             MR. STECKLOW:           Let's mark this as
3                         Vega 12.
4                             (Whereupon, at this time, the
5                         above-mentioned Ten-page document
6                         was marked by the reporter as Vega's
7                         Exhibit 12, for identification, as
8                         of this date.)
9                             MR. STECKLOW:           Could I see that
10                        one for a second.            The one she's not
11                        looking at.
12                   Q    Have you had a chance to look at
13       what's been marked as Vega 12?
14                   A    Yes, sir.
15                   Q    Do you recognize this document?
16                   A    Yes.
17                   Q    What is this document?
18                   A    It's a maintaining public order
19       document, and inside of it is a Power Point
20       pertaining to disorderly conduct and loitering
21       in public.
22                   Q    Is this a Power Point that is
23       created and utilized by the Disorder Control
24       Unit?
25                   A    No, sir, not to my recollection.

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1                                      JOSE VEGA
2        I've ever used this.
3                    Q    You don't have any knowledge of the
4        information contained in here?
5                    A    I understand what loitering is and I
6        understand what disorderly conduct is, and for
7        FURHOOD, I remember that acronym from the
8        academy but I don't know exactly where the
9        letters fall in when it comes to disorderly
10       conduct.
11                   Q    FURHOOD is an acronym they use for
12       disorderly conduct; is that correct?
13                   A    Yes, sir.
14                   Q    It's one they teach at the academy?
15                   A    Yes.
16                   Q    Do you know if they teach it
17       anywhere else outside of the academy?
18                   A    Not that I'm aware of, sir.
19                   Q    Do you know if they utilize it in
20       any refresher training?
21                   A    Like my unit or anyone else in the
22       police department?
23                   Q    Yes.
24                   A    If anyone would utilize this, it
25       would probably be someone in the Legal Bureau.

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1                                      JOSE VEGA
2                    Q    Have you had any refresher training
3        that included FURHOOD acronym?
4                    A    Yes, sir.
5                    Q    What was that?
6                    A    In 2004 the Legal Bureau was part of
7        training people that came to train anyone other
8        than working for Disorder Control for the
9        Republican National Convention.
10                   Q    Did they go over the FURHOOD
11       acronym?
12                   A    Yes.
13                   Q    And they went over First Amendment
14       standards?
15                   A    Yes.
16                   Q    They went over standards for
17       sidewalk protests?
18                   A    I'm not -- I don't remember if they
19       went over that part.
20                   Q    But you attended that training?
21                   A    Yes, sir.
22                   Q    Was there a similar training in 2011
23       at the beginning, middle or end of Occupy Wall
24       Street?
25                   A    No, sir, not that I'm aware of.

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1                                      JOSE VEGA
2                    Q    We looked before at one of the items
3        that was the Disorder Control Training for
4        Occupy Wall Street; correct?
5                    A    I think that could've been the last
6        one that we had.
7                    Q    That document is specifically about
8        Disorder Control Training for Occupy Wall
9        Street; correct?
10                   A    Yes, sir.
11                   Q    The FURHOOD acronym was not utilized
12       in that training; correct?
13                   A    No, sir.
14                   Q    There was no training by the Legal
15       Bureau that you attended as part of the Occupy
16       Wall Street training; correct?
17                   A    Well this day, no, sir.
18                   Q    For any date around Occupy Wall
19       Street was there any training by the Legal
20       Bureau for officers that were going to be
21       policing Occupy Wall Street?
22                            MS. ROBINSON:           Objection.      You
23                        can answer.
24                   A    No, sir.       This training -- because
25       the reap why they weren't there, this is all

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1                                      JOSE VEGA
2        field training.          So, when we do field training,
3        it basically is line and wedge movements, mass
4        arrest and high-profile arrests.                  Those are
5        tactics to utilize on the field.
6                    Q    Was that the same tactic that was
7        utilized during the 2004 Republican National
8        Convention?
9                    A    Yes, sir.
10                   Q    In addition to the disorderly
11       conduct and sidewalk protest tactic?
12                   A    Yes, sir.
13                   Q    You were trained in 2004 in these
14       field tactics, as well as disorderly control and
15       sidewalk protest issues; correct?
16                   A    Yes.
17                   Q    Did that same training occur at any
18       point during Occupy Wall Street?
19                        We know that the training occurred,
20       as far as field tactics, but now I'm asking
21       about the training regarding First Amendment
22       protest activity and sidewalk protest standards?
23                   A    No.     Disorder Control did not
24       conduct any of this legality training.
25                              MR. STECKLOW:         I'm not asking

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1                                      JOSE VEGA
2                         about what Disorder Control
3                         training.
4                    Q    You're saying in 2004 you did not
5        conduct that training but your participated in
6        that training?
7                    A    Yes, sir.
8                    Q    I'm asking that same question for
9        2011.
10                        Was there training that you
11       participated in that was related to sidewalk
12       protest standards or First Amendment activity?
13                   A    No, sir.
14                            MR. STECKLOW:           Mark this as Vega
15                        13 for identification.
16                            (Whereupon, at this time, the
17                        above-mentioned RNC guidelines was
18                        marked by the reporter as Vega's
19                        Exhibit 13, for identification, as
20                        of this date.)
21                            MR. STECKLOW:           I'm going to point
22                        you to page three and page four.                  I
23                        ask you to look at what's contained
24                        at the top of page three as under
25                        number three and the top of page

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1                                      JOSE VEGA
2                         four as under (a) Public Streets.
3                             THE WITNESS:          Okay.    Thank you.
4                    Q    Have you had a chance to review
5        those two sections of this document?
6                    A    Yes, sir.
7                    Q    Do you recognize this document?
8                    A    Yes, sir.
9                    Q    Is this the RNC guidelines that you
10       referenced before that were created and utilized
11       in training leading up to the Republican
12       National Convention in 2004?
13                   A    Yes.
14                   Q    Did you receive it at that time, as
15       part of your training?
16                   A    Yes, sir.
17                   Q    Do you see under number three it
18       talks about "providing ample alternative means
19       of communication to people who are protesting
20       when there's going to be a time, place and
21       manner restriction set in place;" is that
22       accurate?
23                   A    Yes.
24                   Q    What does that means, as far as
25       police officers policing a sidewalk protest?

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1                                      JOSE VEGA
2                             MS. ROBINSON:           Are you asking him
3                         as Sgt. Vega or are you asking him
4                         on behalf of the City?
5                             MR. STECKLOW:           I'm asking him on
6                         behalf of disorder control training.
7                    A    This means that we must allow
8        whatever the message is that they're going to
9        protest we have to allow it, and if they can't
10       get that message out there at that time, we have
11       to allow them an alternative means like another
12       way to get that message across.                   Like, if as an
13       example, the best one would be, if they want to
14       protest in the middle of the street because they
15       need to be within sight and sound of the
16       facility, but being in the middle of the street
17       could be dangerous for them because they could
18       be run over, we have to provide an alternative.
19       We'll put you somewhere else where you can still
20       get the message, they can still hear you, but
21       you'd be safe from any vehicle -- you know, for
22       public safety reasons.
23                   Q    Is that any training that's provided
24       by Disorder Control?
25                   A    Disorder Control does not provide

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1                                      JOSE VEGA
2        this training.
3                    Q    Did it provide in 2004?
4                    A    No, it was provided to us but we
5        specifically did not do this training.
6                    Q    It was not provided by Disorder
7        Control in 2011, at any time?
8                    A    No, sir.
9                    Q    Did Disorder Control get this type
10       of training in 2011 during Occupy Wall Street?
11                   A    No, sir.
12                   Q    Looking at what's on page four as A,
13       this identifies that "Demonstrations on streets
14       may be restricted but any limitation imposed
15       must be minimal and consistent with a concern
16       for public safety;" is that accurate?
17                   A    Yes, sir.
18                   Q    Why is public safety an issue that
19       is identified here when they're talking about
20       the street or sidewalk protest?
21                   A    The public safety public issue part
22       is -- you have the right to protest, but you
23       can't take the street where a non-protester
24       cannot get to work or cannot go to school or
25       cannot just walk around.              The same thing with a

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1                                      JOSE VEGA
2        vehicle.        You can protest if you want on the
3        street but it has to be safe in a safe manner.
4        We can't have you blocking traffic where a car
5        could run you over or where vehicles cannot move
6        whatsoever.        So, we can restrict that.              Like, if
7        you wanted to march, we can speak with the
8        organizer and tell you "We'll give you half the
9        sidewalk and the other half belongs to people
10       who are not protesting and maybe one lane of
11       traffic so traffic can still drive, you can
12       still get your part walk in the street but
13       you'll be safe when it comes to that.
14                   Q     Is there a standard of a
15       clear-and-present danger that is involved in
16       this type of restriction?
17                            MS. ROBINSON:           Again, are you
18                         asking him as St. Vega or are you
19                         asking him on behalf of the City?
20                            MR. STECKLOW:           I'm asking him on
21                         behalf of the City as it related to
22                         disorder control training.
23                   A     Could you repeat that question?                 I'm
24       sorry.
25                            MR. STECKLOW:           Sure.

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1                                         JOSE VEGA
2                    Q       In the standard that you just went
3        there about when protest can be restricted
4        either on the street or on the sidewalk dealt a
5        little bit with public safety?
6                    A       Yes, sir.
7                    Q       I'm asking if there's a standard of
8        a clear-and-present danger rule that is part of
9        that safety analysis and, if yes, if that's
10       taught by Disorder Control?
11                   A       There is no set standard for that
12       because all streets, all areas are different and
13       fluid.          So, you protesting on Wall Street on a
14       Friday is not the same as protesting on a
15       Sunday.          A lot less traffic.            A lot less people.
16       So, the areas that we give you for public safety
17       could be different.              Depends on the time, the
18       date and even if there's a holiday.
19                   Q       Specifically to the standard of
20       clear-and-present danger, is that a term that
21       you've heard of before?
22                   A       Yes.
23                   Q       Is that a term that you have been
24       taught before?
25                   A       Yes.

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1                                      JOSE VEGA
2                    Q    Where have you been taught that
3        term?
4                    A    Any training that the Legal Bureau
5        provided to us when it came to crowd control,
6        civil disobedience, they went over the
7        clear-and-present danger part.
8                    Q    Is that a standard that you then
9        instructed at any Disorder Control training?
10                   A    I don't use that specific
11       terminology when it comes to that.
12                   Q    Were you instructed with a different
13       terminology?
14                   A    What I go over is the zones of
15       safety, and I'll explain to them the zone of
16       safety to protect the protestor and protect the
17       public both at the same time.
18                   Q    Is that the same as what you were
19       taught, as far as what the clear-and-present
20       danger standard is?
21                   A    Yes.
22                   Q    The bottom of this paragraph that we
23       were just reviewing, it talks about how "it
24       would be almost impossible to justify a
25       restriction that entirely prohibits a peaceful

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1                                      JOSE VEGA
2        demonstration on public streets;" do you see
3        that?
4                    A    Yes, sir.
5                    Q    Do you agree with that?
6                    A    Yes.
7                    Q    Have you been trained in that
8        standard?
9                    A    Yes.
10                   Q    Where have you been trained in that
11       standard?
12                   A    The Legal Bureau went over that with
13       us, whenever they conducted a training with
14       Disorder Control.
15                   Q    Is that a standard that you train at
16       Disorder Control to the members of the service
17       that come to Disorder Control for training?
18                   A    Yes, sir.
19                   Q    What setting do you give that
20       training?
21                   A    Whenever we conduct the field
22       training -- well, with the field training we're
23       setting up line and wedge formations and a line
24       formation would be to stop someone from going
25       somewhere.       So, we'll go over that.              That only

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1                                      JOSE VEGA
2        happens when we have to restrict someone from
3        coming somewhere because of danger or because
4        they're not supposed to be there.                  But for
5        peaceful, if the people are peaceful and there's
6        no danger, then we allow them a much more leeway
7        as to what they want.             In the last paragraph, if
8        we have a hundred thousand people and it's
9        peaceful, you can give them a lot more space
10       than you would be on a crowd that you anticipate
11       a problem.
12                   Q    On the zones of safety that you
13       mentioned earlier, where does that term arise
14       from?
15                   A    That's something that I've come up
16       with over the years with my experience in
17       providing crowd control training and in working
18       details.
19                   Q    Is a zone of safety concerned with a
20       threat to public disorder?
21                   A    Yes.
22                   Q    Can you explain how so?
23                   A    Well, the zone of safety, we want to
24       provide a safe environment not just for the
25       public that's not protesting but for the

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1                                      JOSE VEGA
2        protesters themselves and for First Responders.
3        If you have a block completely blocked off and
4        vehicles can't get through, I've heard more than
5        once told "But it's just traffic," and I
6        understand that.          But what if a fire truck can't
7        get through to combat a fire or an ambulance
8        can't get through for a sick person?                   Now we're
9        endangering people.           So, when we set up our
10       zones of safety, it is to provide a safe haven
11       for our protesters, a safe haven for our public
12       and also a safe haven for responders to get
13       through in order to conduct their jobs.
14                   Q     Is that zones of safety something
15       that occurs at the beginning of protest, does it
16       occur when there's a trigger in a protest?
17                         When does that occur?
18                   A     It can occur -- it's a very fluid
19       situation.        It could occur in the planning of a
20       protest.        So, if you have something happening in
21       a specific area, you have to plan for
22       everything.        Whether you have a lot of people, a
23       little people, zones of safety, people going to
24       work in vehicles, or it could be for a
25       spontaneous protest that occurs then you have to

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1                                       JOSE VEGA
2        look at the area.           Every area is fluid and the
3        geography can change from block to block,
4        neighborhood to neighborhood and borough to
5        borough.
6                    Q     Do you use any video in Disorder
7        Control training?
8                    A     Yes,sir.
9                    Q     What type of video do you use?
10                   A     We usually use past incidents and
11       those videos we can get them off of YouTube and
12       we'll show like news clips of civil
13       disobedience, civil disorder from around the
14       world and also that occurs in America to explain
15       to them -- the video will reinforce what we're
16       trying to teach people.
17                   Q     Has that video changed between 2004
18       and 2011?
19                   A     Yes.
20                   Q     How often is it updated?
21                   A     Whenever anything comes up new on
22       YouTube.        So, if you have had a riot that
23       happened ten days ago somewhere and we conduct
24       training, we can actually go to YouTube, which
25       is an open source, and we can just show them

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1                                      JOSE VEGA
2        what was happening there.               So, whenever anything
3        happens, we can update anything we want using
4        YouTube without a problem.
5                    Q    Is there a specific data base or
6        file that you have of various videos that you've
7        used in disorder control training?
8                    A    There are some videos that we've
9        kept on hand.          There are times that we've taped
10       ourselves during formations and then when we
11       teach people we show them "This is what we want
12       you to do when we do the formation," and it's
13       just reinforcing our instruction.
14                   Q    The ones that you find on YouTube,
15       do you save them in a file, as well?
16                   A    No.     Those we just stream them
17       through the Internet when we do our training.
18                   Q    How do you document which ones
19       you're utilizing?
20                   A    We don't.        If we keep something
21       specifically, the name of the document and it
22       will go down whenever we -- and we'll come for
23       training, we would write down what kind of
24       training they're getting.               When it comes to
25       video, we don't document it.                 It's like a

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1                                       JOSE VEGA
2        current event.           Today, there was a shooting in
3        Maryland.           So, tomorrow if I did active shooter
4        training, I would access those videos that the
5        news used to reinforce what I'm trying to teach.
6                    Q        In three months from now, if you
7        wanted to look at that active Maryland shooter
8        video, would you go back to YouTube for it or
9        would you look for a note about where you found
10       it?
11                   A        I would just go to YouTube.
12                   Q        How would you remember that, oh,
13       yeah, that was the Maryland one that I wanted to
14       look at?
15                   A        I would fall back on my memory and
16       my training.
17                   Q        And your training being what?
18                   A        If I'm training an active shooter,
19       then I know what is it that I'm going to show
20       them.           I wouldn't just forget oh, the Maryland
21       shooting.           Three months from now, I would know
22       what that shooting is.              As an instructor, I
23       would remember that.
24                   Q        In 2011, what video did you use in
25       training about sidewalk protest?

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1                                      JOSE VEGA
2                    A    We always show the Battle in
3        Seattle, the 1999 video to show how sidewalks
4        and streets will be lost if the anarchists were
5        allowed to run amok without being stopped.
6                    Q    Is that a video that you continue to
7        show today?
8                    A    We still show it just to show --
9        we'll show that and once, so people understand
10       history, because the big thing when we teach our
11       classes is that history will repeat itself.                       So,
12       we'll show them that so they understand where
13       modern protesting started and how it's evolved
14       over time.
15                   Q    Do you utilize any videos from the
16       Republican National Convention in 2004?
17                   A    We don't utilize because there
18       really is not much on the RNC -- I'm sorry, on
19       the Republican National Convention.                   There's not
20       a lot of stuff there, so we rarely use anything
21       from there.
22                   Q    Are you aware that there was
23       multiple lawsuits brought against the City of
24       New York regarding sidewalk protests at the
25       Republican National Convention?

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1                                      JOSE VEGA
2                    A    Yes, sir.
3                    Q    Have you looked at video underlying
4        some of those lawsuits to see if there was
5        anything there to utilize in the teaching of
6        disorder control?
7                    A    I've not used and of the videos or
8        seen any of the videos from what happened during
9        the Republican National Convention.
10                   Q    Are you aware of the August 31, 2004
11       Fulton Street protest at the Republican National
12       Convention?
13                   A    Yes, sir.
14                   Q    Are you aware that there were
15       multiple arrests made that day?
16                   A    Yes, sir.
17                   Q    Are you aware that there was a
18       lawsuit brought pursuant to the multiple arrests
19       made that day?
20                   A    Yes, sir.
21                   Q    Are you aware that a federal judge
22       granted summary judgment to the protesters
23       stating that they were unconstitutionally
24       arrested on Fulton Street that day?
25                            MS. ROBINSON:           Objection.

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1                                      JOSE VEGA
2                         Outside the scope.               You can answer.
3                    A    Yes, sir.
4                    Q    Have you looked at the video of
5        those arrests to see if there's any use Disorder
6        Control could make with that video in training?
7                    A    No, I have not used or looked at any
8        of those videos.
9                    Q    Has Disorder Control updated its
10       curriculum or training, at all, based on that
11       decision from the federal judge regarding the
12       August 31st, 2004 Fulton Street arrests at the
13       RNC?
14                   A    Yes, we have.
15                   Q    How have you updated your training?
16                   A    One of the major updates was during
17       that incident, the incident commander in charge
18       of that area, they utilized the orange barrier
19       mesh in a way that's not consistent in how we
20       always used it.         So, that was one of the changes
21       we made to our lesson plans.
22                   Q    Is there any other change made,
23       other than how the orange barrier mesh was used?
24                   A    The other change was there's a word
25       called "kettling" and that's a tactic that was

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1                                         JOSE VEGA
2        taught in the '80s and '90s throughout America.
3        The deal was that you would funnel the
4        protestors into an area in which you could
5        control it easier and then you made your
6        arrests.           That was removed because one of the
7        big reasons is you forced people into an area
8        and it makes it more dangerous.                    So, the idea is
9        don't force people somewhere into a tighter
10       area.           You want to work in a larger area.             So,
11       kettling was another change that was made.
12                   Q        Was there any other change made to
13       how Disorder Control trained, based on the
14       arrests at Fulton Street on August 31st, 2004?
15                   A        No, sir.
16                   Q        You previously testified that in
17       anticipation of today's deposition you observed
18       a video and you identified a Bronx incident or
19       something to that effect; is that accurate?
20                   A        Yes, sir.
21                   Q        Were you aware that multiple elected
22       officials had written complaints to the NYPD,
23       concerning the police conduct of that day?
24                   A        That I was not aware of, sir.
25                   Q        But you watched that video; correct?

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1                                      JOSE VEGA
2                    A    Yes, sir.
3                    Q    How long was that video?
4                    A    The part I saw, I think, was 12 to
5        13 minutes, in total, I believe.
6                    Q    Did you watch all of it?
7                    A    Yes, sir.
8                    Q    How many times.
9                    A    Once.
10                   Q    What was your understanding of the
11       police conduct that you saw on that video?
12                   A    Conduct in what way?             How they acted
13       or what they did, their actions?
14                   Q    Yes.
15                   A    It's hard to quantify what was done
16       on a video because, number one, I wasn't there
17       and number two, I don't know what the sidewalk
18       or what the actions were of the people before
19       the police was close.             In the video, there's a
20       part, as with the executive speaking to the lady
21       in charge, they have closed tables up against
22       the fence.       Now, I don't know whether those
23       tables were opened before the police came and
24       then were closed once they showed up.                    So, it's
25       hard to give opinion on a video that doesn't

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1                                      JOSE VEGA
2        show the actions before we showed up.
3                    Q    So, you don't have an opinion on
4        whether the police conduct that day was proper
5        or improper?
6                    A    I can't give a good opinion because
7        I have to see everything and not just the parts
8        that you showed to me.
9                    Q    Do you have an opinion of whether or
10       not the police conduct in arresting individuals
11       in the video that you observed comported with
12       the training of Disorder Control?
13                   A    Once again, I can't answer that
14       correctly.       I don't know what the actions were
15       of the individuals being arrested before we
16       showed up.
17                   Q    But you were able to see 12 minutes
18       of action; correct?
19                   A    Yes.
20                   Q    And you could see 12 minutes of
21       conduct; correct?
22                   A    Yes.
23                   Q    And you didn't see arrests in the
24       first minute; correct?
25                   A    No.

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1                                      JOSE VEGA
2                    Q    You saw arrests after a few minutes;
3        correct?
4                    A    Yes.
5                    Q    People were being told to disperse
6        and walk and they started marching around the
7        block; correct?
8                    A    Yes.
9                    Q    And then people were arrested in
10       that moment; correct?
11                   A    Yes.
12                   Q    Did you see anything on the video
13       that you could see that was occurring that would
14       give probable cause to the officers to make
15       those arrests?
16                            MS. ROBINSON:           Objection.      You
17                        can answer.
18                   A    Again, I really can't say because
19       I'm seeing their angle of the video.                   So, it's
20       hard for me to give -- I can't give a proper
21       answer when I'm only seeing their angle, and I
22       don't know what they were doing when we showed
23       up.     The police are called somewhere and the
24       person's conduct stops.              Where we have proof to
25       show that they were doing something improper,

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1                                      JOSE VEGA
2        then they'll be arrested.               But the video would
3        show that at that time they weren't doing
4        something.        The video can be shown to show
5        anything.
6                    Q     You've previously testified that for
7        disorderly conduct arrest, the officer has to
8        see the conduct; correct?
9                    A     It has to be in their presence.
10                   Q     Was there anything you could see in
11       the video that would give you, as a person
12       watching, sufficient knowledge of probable cause
13       to make an arrest for disorderly conduct?
14                   A     I can't answer that properly because
15       I'm looking at the video and if I was there
16       live, depending on what angle, if you're on one
17       side of the angle you could see something.                      If
18       you're on another angle, you may not see
19       nothing.        So, I never will give an opinion on a
20       video that someone shot.              I'd have to be there.
21                   Q     Did you see any pedestrians being
22       blocked in the video?
23                   A     I didn't see in that video, at that
24       time, a pedestrian being block.                   But I don't
25       know what occurred before the video was shot.

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1                                      JOSE VEGA
2                    Q    Is it unlawful for people to have a
3        table on a sidewalk?
4                    A    It depends.         There are rules and
5        regulations in place of where you can place a
6        table, how far it has to be from a corner, how
7        far from a business.            It depends on where they
8        are and what is on that block.
9                    Q    Was there any business that was
10       visible in the video on that block or was it an
11       empty lot around the fence?
12                   A    From the angle I saw it, it looks
13       like there was an empty lot on that fence.
14                   Q    Are people allowed in First
15       Amendment activity to set up a table on a
16       sidewalk on a block that's surrounding an empty
17       lot?
18                            MS. ROBINSON:           Objection.      You
19                        can answer, if you know.
20                   A    I'm not sure of the answer.               But
21       odds are good that they can, as long as it
22       doesn't block.         But like I mentioned earlier,
23       the tables were closed when I saw the video.
24                   Q    You never saw the tables blocking
25       anything; correct?

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1                                      JOSE VEGA
2                    A    The closed tables or the open
3        tables?
4                    Q    Did you see open tables?
5                    A    On that part of the video, there was
6        nothing open.        But, like I said, I would like to
7        see the whole video from when the incident
8        begins not from when they decide to start to
9        take it.
10                            MR. STECKLOW:           I'm asking you
11                        specific questions.              I'd appreciate
12                        you trying to answer the specific
13                        question that I'm asking and not in
14                        a different way or not a question
15                        that you're hoping I would ask for.
16                            THE WITNESS:          Okay.
17                            MR. STECKLOW:           I'm not asking
18                        about what happened 20 minutes
19                        before.
20                   Q    Do you know what happened 20 minutes
21       before the video started?
22                   A    Absolutely not.
23                   Q    So all we know is what we can see on
24       the video; right?
25                   A    Yes.

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1                                      JOSE VEGA
2                               MR. STECKLOW:         All I'm asking
3                         questions about is what do you see
4                         on the video, not about what may or
5                         may not have happened 20 minutes
6                         before.
7                    Q    Did you see any open table on the
8        video?
9                    A    On the video I saw, there are no
10       open tables.
11                   Q    I'm asking you that question, and
12       it's a simple answer, no, there's no open
13       tables; can we agree to that?
14                   A    Sure.     Yes.
15                   Q    Did you see any tables blocking the
16       sidewalk on the video?
17                   A    No.
18                   Q    Did you see any reason or probable
19       cause for arrest of individuals on the video?
20                   A    On the video, I saw no reason.
21                   Q    Did the conduct that you could see
22       on the video of the police and how they
23       interacted with the protesters comport with the
24       training given at Disorder Control?
25                              MS. ROBINSON:         Objection.      You

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1                                      JOSE VEGA
2                         can answer.
3                    A    I saw no misconduct from the
4        officers, so everything they did seemed to be
5        correct.
6                    Q    The arrests that you saw that they
7        made comported with the training given at
8        Disorder Control?
9                    A    The mass arrest training that we
10       give that comported to what was being done on
11       the video.
12                              MR. STECKLOW:         Let's mark this as
13                        Vega 14.
14                              (Whereupon, at this time, the
15                        above-mentioned Training memo was
16                        marked by the reporter as Vega's
17                        Exhibit 14, for identification, as
18                        of this date.)
19                              MR. STECKLOW:         Mark this as Vega
20                        15.
21                              (Whereupon, at this time, the
22                        above-mentioned 4/1/12 e-mail was
23                        marked by the reporter as Vega's
24                        Exhibit 15, for identification, as
25                        of this date.)

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1                                          JOSE VEGA
2                    Q        Have you had a chance to look at
3        what is marked Vega 15?
4                    A        Yes, sir.
5                    Q        Have you seen this before?
6                    A        I saw it when I was reviewing the
7        paperwork for here, but I didn't see it when
8        this originally came out.
9                    Q        This talks about impact lectures for
10       captains and lieutenants?
11                   A        Yes, sir.
12                   Q        It was given by Disorder Control?
13                   A        Yes, sir.
14                   Q        It was given in March of 2012?
15                   A        I don't think see the date March
16       2012.           I see it says April 4th was the last
17       session.
18                   Q        I'm looking at the e-mail section
19       from below from Raganella, Saturday, March 31st.
20                   A        Yes.
21                   Q        You're copied on that; correct?
22                   A        Yes.
23                   Q        What is an impact lecture?
24                   A        Well, the -- it's not a lecture.
25       What happened is the NYPD for I forget how long

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1                                       JOSE VEGA
2        set up impact zones throughout the city.                     Those
3        are high-crime zone.             So, when police officers
4        left the academy, they're sent to an impact
5        zone.           There were lieutenants and captains who
6        were in charge of those impact zones.                    So, those
7        captains and lieutenants from the impact zones
8        were sent to Disorder Control for training.
9                    Q        What type of training did they
10       receive?
11                   A        According to this e-mail, they
12       received crowd control training and protocol for
13       crowd control training, what the patrol borough
14       Task Forces can do, along with mass arrest
15       theories, the protocols of mass arrests and
16       legalities for supervisors.
17                   Q        This is Disorder Control training or
18       is it some other type of training?
19                   A        Other type of training pertaining to
20       Disorder Control.
21                   Q        Was this training conducted by
22       Disorder Control or by others?
23                   A        It was conduct by the Disorder
24       Control Unit, yes.
25                   Q        This was lieutenants and captains?

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1                                      JOSE VEGA
2                    A    Yes, sir.
3                    Q    Where was it given?
4                    A    This was given at the Disorder
5        Control base which was the old Bronx Task Force
6        base in the Bronx.
7                    Q    What type of materials were used in
8        this lecture?
9                    A    This is classroom lecture.               So, if
10       it's classroom lecture, it's all Power Points.
11                   Q    Were there any handouts that were
12       part of this?
13                   A    Not that I know of.
14                   Q    Do you know if disorderly conduct
15       standards were reviewed, as part of this
16       training?
17                   A    Not that I know of because anything
18       with these executives was conducted by the CO.
19       I did not conduct this training.
20                            MR. STECKLOW:           Let's look at what
21                        has been marked as Exhibit 14.                 Take
22                        a look at it.
23                   Q    Have you ever seen this document
24       before?
25                   A    Yes, sir.

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1                                      JOSE VEGA
2                    Q    When did you see this document?
3                    A    I saw it when I was reviewing the
4        documents for this deposition.
5                    Q    Did you say it, at any time prior to
6        that?
7                    A    I don't recall seeing this before
8        this.
9                    Q    Was the information in this document
10       incorporated into Disorder Control training?
11                   A    We didn't incorporate it into our
12       training.
13                   Q    Did anyone else incorporate it into
14       Disorder Control training?
15                   A    Yes, sir.
16                   Q    Who was that?
17                   A    Lt. Albano from the Legal Division.
18       Whenever we needed anything done when it come to
19       legalities, he was the person who would teach
20       that.
21                   Q    Did he teach this information at
22       Disorder Control training?
23                   A    Whenever we needed him, yes, he
24       would.
25                   Q    In 2004 to 2011, when did he do

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1                                      JOSE VEGA
2        that?
3                    A    2004 he did it for the Republican
4        National Convention and then whenever Commanding
5        Officer Anthony Raganella conducted any Disorder
6        Control training when he went over legalities
7        for executives, Lt. Albano would help him with
8        that.
9                    Q    This item is dated December 2007;
10       correct?
11                   A    Yes, sir.
12                   Q    I think we can agreed that Lt.
13       Albano did not train on this in 2004 for the
14       RNC; correct?
15                   A    Yes, sir.
16                   Q    From December of 2007 to September
17       30th, 2012, can you tell me the dates upon which
18       Lt. Albano instructed on this at Disorder
19       Control.
20                   A    I don't know the dates because I was
21       not present.        Whenever there was legality
22       training, I was not present for that.                    I mostly
23       conducted all of our field training.
24                   Q    If you were not present at the
25       legality training, how are you sure that this

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1                                      JOSE VEGA
2        specific information was trained on?
3                    A    Because he went over disorderly
4        conduct, and anything with disorderly conduct
5        would come from documents like this.
6                    Q    Are you doing this from firsthand
7        knowledge or are you doing this just from logic
8        and you think because this is disorderly conduct
9        information and he was training on disorderly
10       conduct, he must have been training on this?
11                   A    It would come from logic because
12       this is a training memo that came up from the
13       police academy.         So, all the training memos are
14       circulated among all the training units.                     So, it
15       would be very remiss for someone to conduct
16       training without using the training memo that is
17       specified to use.
18                   Q    But you don't have any firsthand
19       knowledge that this was actually utilized in
20       such a manner as you described it?
21                   A    By Lt. Albano, no, sir, no firsthand
22       knowledge.
23                   Q    You don't have any firsthand
24       knowledge of Lt. Albano or anyone else; correct?
25                   A    No, sir.

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1                                      JOSE VEGA
2                             MR. STECKLOW:           Let's mark this
3                         one as Vega 16.
4                             (Whereupon, at this time, the
5                         above-mentioned 9/12/12 e-mail was
6                         marked by the reporter as Vega's
7                         Exhibit 16, for identification, as
8                         of this date.)
9                    Q    Have you had a chance to review what
10       was marked Vega 16?
11                   A    Yes, sir.
12                   Q    Have you seen this item before?
13                   A    Yes.
14                   Q    When was the first time that you saw
15       it?
16                   A    I -- when I sent this e-mail was the
17       first time I sent it because I actually sent
18       this e-mail to my commanding officer.
19                   Q    This concerned Disorder Control
20       coverage from September 14th to September 17,
21       2012 for Occupy Wall Street?
22                   A    Yes, sir.
23                   Q    Do you see that there's certain
24       aspects that are redacted; correct?
25                   A    Yes, sir.

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1                                      JOSE VEGA
2                    Q    The first thing that's redacted
3        seems like it would be the phone number for
4        Captain Raganella?
5                    A    Yes.
6                    Q    And then your entire message, he was
7        a captain, at the time?
8                    A    Yes, sir.
9                    Q    Your entire message to Captain
10       Raganella was redacted; correct?
11                   A    Yes, there's nothing there so it's
12       redacted completely.
13                   Q    Do you recall what you wrote there?
14                            MS. ROBINSON:           Objection.      I'm
15                        going to direct the witness not to
16                        answer.
17                            MR. STECKLOW:           Can you direct him
18                        to answer whether he recalls what
19                        was there?        I'm not asking what was
20                        there yet.        I asked if he recalls.
21                            MS. ROBINSON:           You can answer.
22                   A    I recall, yes.
23                   Q    Did it involve Occupy Wall Street?
24                   A    Yes.
25                   Q    Was it a personal matter?

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1                                      JOSE VEGA
2                    A    No.
3                    Q    Was it a police matter concerning
4        the number of units or training units to be
5        supplied at Occupy Wall Street?
6                    A    It was -- this pertained to our
7        coverage.       So, not the outside units but what
8        DCU's coverage would be for that time period
9        listed in the attachment.
10                   Q    When you talk about DCU'S coverage
11       would be, do you mean by training or just to
12       have specific officers at locations?
13                   A    It's the specific officers and
14       the -- excuse me, the specific equipment that
15       would be at the location.
16                   Q    So, the number of officers, the
17       types of equipment that would be at the
18       location, that was the information that's been
19       redacted?
20                   A    And the other thing, whenever we sub
21       any coverage, it would have the officers' names,
22       the vehicle number and probably the contact
23       information.        So, that's probably what's
24       redacted here which is the vehicle numbers
25       which are tactical vehicles and if you know the

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1                                        JOSE VEGA
2        tactical number, you know what equipment is in
3        there.          So, we try to keep, you know, the laymen
4        shouldn't know, and the phone numbers of the
5        officers assigned.
6                    Q       There's not hundreds of officers in
7        Disorder Control but there's only a handful;
8        correct?
9                    A       Yes, sir.
10                   Q       So, it could be somewhere between
11       one and ten names that were there?
12                   A       At the time working, we probably had
13       about 12 people, in total.                So, it could be
14       anything between two to 12 because no one works
15       by themselves.
16                              MS. ROBINSON:         If you have a
17                           Bates number for this, we can review
18                           the redactions because I don't see
19                           why it's redacted.
20                              MR. STECKLOW:         I don't know why.
21                           I think I asked about it and I don't
22                           know the Bates are not printed on
23                           this.   But I do have the Bates
24                           number for it.
25                              MS. ROBINSON:         Then just send me

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1                                      JOSE VEGA
2                         an e-mail and we can revisit that.
3                    Q    Between 2004 and 2011, were there
4        any changes or updates to Disorder Control
5        training based on changes of law?
6                    A    Not that I'm aware of.             Not with
7        changes of law.
8                    Q    Was there any changes or update to
9        Disorder Control Training between 2004 and 2011
10       based on case law interpretation of statutes?
11                   A    No, sir, not that I'm aware of
12       either.
13                              MR. STECKLOW:         The time is now
14                        3:00 o'clock.          We are going to take
15                        a short break.
16                              (Whereupon, at this time a brief
17                        recess was taken.)
18                              MR. STECKLOW:         Mark this as Vega
19                        17.
20                              (Whereupon, at this time, the
21                        above-mentioned 3/8/12 e-mail was
22                        marked by the reporter as Vega's
23                        Exhibit 17, for identification, as
24                        of this date.)
25                              MR. STECKLOW:         I will make a

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1                                      JOSE VEGA
2                         written record, as well.              We're
3                         going to request a copy of the video
4                         utilized that is, for lack of a
5                         better term, the Battle in Seattle
6                         utilized in the DCU training.
7                             MS. ROBINSON:           Noted.
8                    Q    Looking at what was marked Vega 17,
9        do you recognize this document?
10                   A    Yes, sir.
11                   Q    What is this document?
12                   A    It's an e-mail from my old
13       commanding officer, Anthony Raganella, to all
14       the Task Force commanding officers.                   The e-mail
15       basically the subject was he had come from a
16       preplanning meeting for May Day and he wanted to
17       go over what the meeting was about and to
18       explain to everybody about the use of shields in
19       case things get bad and not to forget their
20       training.
21                   Q    Does Raganella quote Chief Esposito
22       in this e-mail?
23                   A    Yes.     The quote the exact words were
24       "Train, train, train especially with the
25       shields."

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1                                      JOSE VEGA
2                    Q    Due to these instructions or orders
3        from Chief Esposito, was there significant
4        Disorder Control training that was undertaken
5        with the Task Force?
6                    A    We didn't do any extra training.                  We
7        just continued doing the same training we would
8        always do.
9                    Q    The volume of training did not
10       increase from this point, in anticipation of the
11       May 1st protest?
12                   A    No, sir.
13                   Q    Did the type of training change?
14                   A    The context did change, yes, sir.
15       We added a shield component, how to use -- how
16       to best use a shield.
17                   Q    Do you have any idea how many
18       members of the service were trained by DCU
19       between March 8th and May 1st of 2012?
20                   A    No, sir.
21                   Q    Was there any change to the Disorder
22       Control training, due to this message, in
23       updated training on First Amendment activity?
24                   A    No, sir.
25                   Q    Was there any change or update in

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1                                      JOSE VEGA
2        Disorder Control training, due this to memo, in
3        disorderly conduct statute training?
4                    A    No, sir.
5                    Q    Was there training or updates to
6        Disorder Control training --
7                               MR. STECKLOW:         Withdrawn.
8                    Q    Was there any change or update to
9        Disorder Control training between March 2012 and
10       May 1st, 2012 in sidewalk protest standards at
11       Disorder Control?
12                   A    No, sir.
13                              MR. STECKLOW:         Mark this as Vega
14                        18.
15                              (Whereupon, at this time, the
16                        above-mentioned 9/16/10 e-mail was
17                        marked by the reporter as Vega's
18                        Exhibit 18, for identification, as
19                        of this date.)
20                              MR. STECKLOW:         I'll show you what
21                        was marked Vega 18.              I ask you to
22                        take a second to look at it and let
23                        me know when you have.
24                              While we have a second, let's
25                        mark the first one is 19 and the

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1                                      JOSE VEGA
2                         second one is 20.
3                             (Whereupon, at this time, the
4                         above-mentioned Mass arrest document
5                         was marked by the reporter as Vega's
6                         Exhibit 19, for identification, as
7                         of this date.)
8                             (Whereupon, at this time, the
9                         above-mentioned Police omnipresence
10                        document was marked by the reporter
11                        as Vega's Exhibit 20, for
12                        identification, as of this date.)
13                            MS. ROBINSON:           Can we go off the
14                        record a second?
15                            MR. STECKLOW:           Yeah.
16                            (Discussion held off the
17                        record.)
18                   Q    Let me show you what was marked as
19       Vega Exhibit 18.
20                        Have you had a chance to review what
21       was marked as Vega 18?
22                   A    Yes, sir.
23                   Q    Do you recognize this document?
24                   A    I never seen this document before.
25       This is the first time I've actually seen it.

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1                                      JOSE VEGA
2                    Q    Do you see on the first page of this
3        document is an e-mail?
4                    A    Yes, sir.
5                    Q    Do you understand who this e-mail
6        was from, who it's to and what it's in reference
7        to?
8                    A    It is in reference to training for
9        the recruit training school.                 It's about
10       resisting arrest information and what they talk
11       about is they're going to be adding that to the
12       arrest plan of the Intac cycle.
13                   Q    This is going to be added to the
14       recruit training?
15                   A    Yes, sir.
16                   Q    The Intac cycle you previously
17       explained was a recruit training?
18                   A    The recruit training is one thing.
19       The Intac cycle is for officers that are no
20       longer in the police academy.                 They're regular
21       officers on patrol and this is their in-service
22       training they go to twice a year.
23                   Q    They go to it at the academy?
24                   A    Sometimes it's at the academy.
25       Sometimes it's at the range.                 It depends on what

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1                                      JOSE VEGA
2        type of training they're going to do and then
3        they have the location.
4                             MR. STECKLOW:           We're going to
5                         make a request, I presume we have
6                         this already, but for any and all
7                         materials of Intac training
8                         regarding First Amendment activity,
9                         protest activity, disorderly conduct
10                        statutes and dispersal orders.
11                            MS. ROBINSON:           Noted.
12                   Q    Did you receive Intac training
13       individually?
14                   A    I have received it in the past.
15                   Q    Did you receive this training that's
16       identified by Vega 18 as part of your Intac
17       training?
18                   A    No, sir.
19                   Q    Have you received Intac training,
20       since 2010?
21                   A    No, sir.
22                   Q    Let's look at Vega 19.
23                        Have you seen this before?
24                   A    Yes, sir.
25                   Q    What is this?

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1                                      JOSE VEGA
2                    A    This is one of the slides from a
3        Power Point that Disorder Control uses for mass
4        arrest training.
5                    Q    Previously, you testified that the
6        training is given involves the five percent of
7        protests that result in riot or violence;
8        correct?
9                    A    Yes, sir.
10                   Q    When it's talking about on this
11       document mass arrest versus riot, is that part
12       of the 95 percent of protest that you don't do
13       the training or the five percent of protests
14       that you do do the training on?
15                   A    What I said before was it's not that
16       there's 95 percent we don't train.                  What I said
17       was, and I'm sorry if I didn't make it clear,
18       the percentage of protests that become bad is
19       between five percent to one percent.                   The
20       various amounts -- 95 percent of protests
21       history has shown do not become riotous, do not
22       become dangerous.          That's what I meant.              Not
23       that 95 percent of the time we don't train.
24                   Q    For this mass arrest versus riot, is
25       that part of the two to five percent or the 95

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1                                      JOSE VEGA
2        percent?
3                    A    This is part of the overall training
4        that we give them.           I don't understand what you
5        mean by two to five or 95.
6                    Q    You identified that 95 percent of
7        protests are good?
8                    A    Yes.
9                    Q    Or don't become violent, don't have
10       disorder and only two to five percent become
11       riotous or have disorder; correct?
12                   A    Yes.     Yes.
13                   Q    I've asking if this slide of mass
14       arrest versus riot encompasses a hundred percent
15       of the protests, the two to five percent that
16       you discussed become riotous or disorderly, or
17       the 95 percent that don't?
18                   A    This would encompass the 100 percent
19       of protest that a person would go to.
20                   Q    Where on hear is it discussed the
21       nonviolent protest?
22                   A    This one slide doesn't discuss that.
23       All this slide says is if you have a mass arrest
24       situation, these are people that want to get
25       arrested, you go nice and slow because you're

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1                                      JOSE VEGA
2        not going to have no issues.                 If you have a riot
3        and you don't go slow, you have to address that
4        issue quickly.         That's all this slide says.
5                    Q    What is the situation when you have
6        a group of protesters on a sidewalk engaging in
7        First Amendment activity, who do not want to get
8        arrested but yet the police are telling them
9        they must disperse or they will get arrested or
10       something like that, how does that play in to
11       the mass arrest versus riot?
12                   A    We don't discuss any of that.
13       This -- excuse me.           This Power Point that we
14       teach, it is taught for when people want to get
15       arrested.       So, it's a tactic that we teach so we
16       go over it.        We're don't -- we're not going to
17       teach a tactic for people that don't want to get
18       arrested.       This is a tactic we teach for people
19       that want to get arrested so we can safely
20       extricate them from one location to another and
21       as quickly and safety and as efficiently as
22       possible.
23                   Q    Going back to the percentages that
24       you raised earlier that I'm trying to
25       understand, in the two to five percent of

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                                                                 Page 156

1                                      JOSE VEGA
2        protests, does that include this mass arrest
3        situation where demonstrators want to be
4        arrested but are passive?
5                    A    No.     The two to five percent are --
6        that's a percentage that the FBI did a study
7        many years ago based on a book written by a man
8        named Raphael Mumbasi, and he mentioned that he
9        studied riots throughout history and said that
10       five percent of them will probably become
11       violent and the other 95 will not.                  So, that's
12       where we get that stat from.
13                   Q    That's discussing riots?
14                   A    That's discussing demonstrations.
15       95 percent of them will be passive, no issue
16       whatsoever.        Five percent of them have the
17       chance to become very, very riotous.
18                              MR. STECKLOW:         Let's look at what
19                        was marked as Vega 20.
20                   Q    Have you had a chance to review
21       that?
22                   A    Yes, sir.        I'm good.
23                   Q    Do you recognize this document?
24                   A    Yes, sir.
25                   Q    What is this?

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1                                      JOSE VEGA
2                    A    This is our -- one page from a Power
3        Point from -- the Power Point is -- it is force
4        multipliers.        That's the name of the Power Point
5        and this is one of the slides there.
6                    Q    Does this talk about the initial
7        approach of the police into a disordered
8        situation?
9                    A    Yes.     What this slide is part one
10       and this teaches the different levels of force.
11       Number one being police omnipresence.                    That's
12       the first level of force that's present.                     Any
13       time the police show up, omnipresence is the
14       first use of force that occurs.
15                   Q    By omnipresence, what does that
16       mean?
17                   A    Someone just standing there.                Like,
18       can be there in uniform standing in front of
19       people, that's omnipresence, right there.
20                   Q    Is a single officer present by
21       himself considered omnipresence?
22                   A    Yes, because if you have a large
23       group doing something and there was no police
24       there, there's no police there.                   But one officer
25       starts to create omnipresence and that law is

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1                                      JOSE VEGA
2        present, at the time.
3                    Q    The first bullet point here talk
4        about both demonstrations and disorders;
5        correct?
6                    A    Yes, sir.
7                    Q    Does that get us to that hundred
8        percent of activity, rather than five percent
9        and 95 percent?
10                   A    Yes, sir.
11                   Q    And two to five percent is what you
12       were talking about before about what become
13       disorder and 95 percent of demonstrations do not
14       become disorder?
15                   A    The two to five percent will be
16       violent disorder is what we consider a riot.
17       The other 95 percent will be the demonstrations
18       not disorder.
19                   Q    This is talking about police
20       omnipresence for both demonstrations and
21       disorders as one; correct?
22                   A    Yes, sir.
23                   Q    That the second one discusses how
24       people react to a police presence or simply says
25       that; correct?

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1                                      JOSE VEGA
2                    A    Yes, sir.
3                    Q    The third one talks about a team
4        approach.
5                         What is a team approach?
6                    A    If you work together as a team
7        instead of as a single individual, if you
8        have -- you have a crowd and you have one
9        individual attempting to control the crowd, a
10       little difficult.          If you come in as a team, the
11       numbers start to favor you.                It's a lot easier
12       to deal with a crowd when you have a lot of
13       police officers compared to just one and you
14       have to work together as a team.
15                   Q    That's for both demonstrations that
16       are peaceful, as well as disorders and violent
17       riots?
18                   A    Yes, sir.
19                   Q    This indicates -- could you read
20       what the third bullet point is?
21                   A    "Team approach intimidates a crowd
22       and reduces the need for force."
23                   Q    That is a training item that's
24       trained to officers of how to deal with both
25       demonstrations and disorders; correct?

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1                                      JOSE VEGA
2                    A    Yes, sir.
3                             MR. STECKLOW:           Let's go off the
4                         record.
5                             (Discussion held off the
6                         record.)
7                    Q    Does Disorder Control do training on
8        sit-in type protests?
9                    A    Yes, sir.
10                   Q    What's the training that's given
11       concerning sit-in type protests?
12                   A    For the scenario that you describe
13       about sit-in type protests, that is part of our
14       mass arrest training.             For the sit-in protests
15       and the mass areas, it's in conduction, we show
16       them what to do when a person is sitting in
17       somewhere and how to safely and easily remove
18       them from the situation.
19                            MR. STECKLOW:           Let's mark this as
20                        Vega 21.
21                            (Whereupon, at this time, the
22                        above-mentioned Sit-in arrest
23                        document was marked by the reporter
24                        as Vega's Exhibit 21, for
25                        identification, as of this date.)

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1                                      JOSE VEGA
2                             MR. STECKLOW:           Back on the
3                         record.
4                    Q    Have you seen document 21 before?
5                    A    Yes, sir.
6                    Q    What is document 21?
7                    A    This is part of a Power Point that
8        Disorder Control Unit teaches pertaining to mass
9        arrests.
10                   Q    Is this a specific subset of that
11       Power Point specifically about protestor sit-in
12       type of arrests?
13                   A    Yes, sir.
14                   Q    What is the training that's given by
15       Disorder Control about how to handle a protester
16       sit-in type of arrest?
17                   A    What we go over is, first of all, we
18       surround the individual.              It's always eight
19       officers and one person being arrested.                    We do
20       for safety reasons for ourselves and safety for
21       the protester.         Then we explain to them how to
22       get the person out.           One of the first things we
23       tell them is ask the protester "Do you want to
24       walk out," and when they walk out 95 percent of
25       the way down.        If not, there's a way to carry

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                                                                 Page 162

1                                      JOSE VEGA
2        out that individual or bring him out on his
3        heels.
4                    Q    Is there instruction here about what
5        to do, prior to making a determination the
6        person is actually under arrest?
7                    A    Yes.     I don't see that part in here.
8        But in the Power Point, we go over the equipment
9        that you have, and then prior to the arrest
10       being ordered, there is instruction given on
11       what you should catalog in your memo book and
12       then there's in the Power Point itself, there's
13       two sample warnings.            It says "sample warnings."
14       There's an example of the warnings that are
15       given before the arrest is carried out.
16                   Q    Be a specific as you can about the
17       type of training given that if an individual is
18       sitting on a sidewalk during a protest, how the
19       officers are supposed to conduct themselves
20       before, during and after making an arrest?
21                   A    Okay.     If an individual is sitting
22       on a sidewalk and is determined that he's going
23       to be placed under arrest because he's blocking
24       the sidewalk and people can't pass, we tell the
25       officers the first thing before you do anything,

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1                                      JOSE VEGA
2        make sure you've got all your equipment first
3        because once we start arresting people we don't
4        want to stop because it looks inefficient.                       So
5        make sure you have all your equipment first.
6        Number two, make you see what is occurring.
7        Afterwards you tell them the incident commander
8        or someone who designates will explain to the
9        people what they're doing incorrect, read them
10       the warnings and give them a specific time to
11       vacate the area or they'll be place under
12       arrest.        All that is told to the officers who
13       catalog that in their memo book.                    Afterwards, if
14       the people do not comply, then we'll explain to
15       them "Now you'll be placed under arrest."                      We
16       tell them what they're being arrested for, and
17       then the officers have been instructed to arrest
18       them, and then the training of the eight
19       officers will surround that one person to go to
20       the front to ensure that no one goes and attacks
21       us from the front.           The next two officers are
22       always our arresting officers.                    The next two
23       will flank the sides and the last two will watch
24       the rear, and then they will bring that person
25       out.        We'll lift them up, handcuff them and we

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1                                      JOSE VEGA
2        walk them out.         If the person wishes to be
3        carried, the last two officers they will come
4        in, cross his legs and then together they'll
5        lift up that person and bring them out.
6                    Q    How does Disorder Control train the
7        officers to determine that somebody is
8        determined to get arrested and isn't ready to
9        get up and walk away?
10                   A    What we explain to them when we do
11       the training is that they have to be present
12       when we read the orders.              They have to be
13       present and they have to understand.                   So, we'll
14       tell them "Did you see what I saw?                  Do you
15       understand why they're being arrested?"                    If the
16       people do not leave and the order is given, then
17       they start arresting.             At no time -- we tell our
18       officers at no time are they to start making
19       arrests unless order to by a supervisor and that
20       supervisor is not going to do no arrests until
21       he's ordered to by the incident commander.
22                   Q    And the incident commander is not
23       going to authorize those arrests unless these
24       protocols are followed?
25                   A    For these -- yeah, they will follow

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1                                      JOSE VEGA
2        the protocols of reading the warnings, giving
3        the protester time to leave and then if they
4        don't do it, the arrests are ordered.
5                              MR. STECKLOW:          Alright, Amy.
6                           It's your witness.
7                              MS. ROBINSON:          I just have a
8                           couple of questions for you.
9        EXAMINATION BY
         MS. ROBINSON:
10                   Q      What is the role of the Disorder
11       Control Unit at a protestor demonstration?
12                   A      The role of the Disorder Control
13       Unit at a protest or demonstration is very
14       simple.         We provide tactical and logistical
15       support to the incident command.
16                   Q      During a protest or a demonstration
17       during, let's say, Occupy Wall Street for
18       example, does any member of the Disorder Control
19       order that arrests be made?
20                   A      No, ma'am.      We don't -- we don't
21       order anyone to be arrested.                 One of us may read
22       the order, but that's after he's been given the
23       go ahead by the incident command.
24                   Q      Then also with respect to Occupy
25       Wall Street, did any members of the Disorder

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1                                      JOSE VEGA
2        Control Unit actually make arrests?
3                    A    No, no one from the Disorder Control
4        Unit made any arrest during that time period.
5                             MS. ROBINSON:           That's all I have.
6                             MR. STECKLOW:           Okay.    The time is
7                         now 3:39 P.M. and we are off the
8                         record.
9                             (Whereupon, at 3:39 P.M., these
10                        proceedings were concluded.)
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                                                                 Page 167

1
2        STATE OF ______________ )
3                                              )     :ss
4        COUNTY OF ______________)
5
6
7                       I, JOSE VEGA, the witness
8        herein, having read the foregoing
9        testimony of the pages of this deposition,
10       do hereby certify it to be a true and
11       correct transcript, subject to the
12       corrections, if any, shown on the attached
13       page.
14
15                                      ______________________
16                                                 JOSE VEGA
17
18
19
20       Sworn and subscribed to before me,
21       this ________ day of __________, 2018.
22
23       _______________________________
24                     Notary Public
25

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          JOSE VEGA               MS. ROBINSON                165           10
5
          REQUESTS                                           PAGE        LINE
 6
 7        Provide    requested documentation                    23         19
 8        Provide    requested documentation                    80         11
 9        Provide    training video                            147          7
10        Provide    requested documentation                   152         11
11                        INDEX TO VEGA EXHIBITS
12        EXHIBIT          DESCRIPTION                         PAGE      LINE
13        Exhibit    1 30(b)(6) notice                          12        18
14        Exhibit    2 Advanced command                         33        24
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15                      section
16        Exhibit    3 DCU Level I & II                         37         16
                        mobilization
17
          Exhibit 4       4/1971 Legal Bureau                   37         21
18                        bulletin
19        Exhibit 5       2/2017 Legal Bureau                   38          2
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20
          Exhibit 6       NYPD six-month plan                   38          7
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          Exhibit 7       DCU 09053                             52         13
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          Exhibit 8       1/16/12 memo                          86          3
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          Exhibit 9       8/11/11 memo                          87         15
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                                                                  Page 170

1
2                                CERTIFICATION
3
4                    I, ANITA M. CUMMO, a notary public in and for
5           the State of New York, do hereby certify:
6                    THAT the witness whose testimony is hereby
7           before set forth, was duly sworn by me; and
8           that the within transcript is a true record of the
9           testimony given by said witness.               I further certify
10          that I am not related, either by blood or marriage,
11          to any of the parties to this action; and
12                   THAT I am in no way interested in the outcome
13          of this matter.
14                   IN witness whereof, I have hereunto set my
15          hand this third day of October 2018.
16
17
                                     <%4940,Signature%>
18                                   ANITA M. CUMMO
19
20
21
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25

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1                           INSTRUCTIONS TO WITNESS
2
3                Please read your deposition over carefully
4         and make any necessary corrections. You should state
5         the reason in the appropriate space on the errata
6         sheet for any corrections that are made.
7                After doing so, please sign the errata sheet
8         and date it.
9                You are signing same subject to the changes
10        you have noted on the errata sheet, which will be
11        attached to your deposition.
12               It is imperative that you return the original
13        errata sheet to the deposing attorney within thirty
14        (30) days of receipt of the deposition transcript by
15        you. If you fail to do so, the deposition transcript
16        may be deemed to be accurate and may be used in court.
17
18
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2
3
4
5                      I wish to make the following changes,
6                for the following reasons:
7
8                PAGE LINE
9                ___    ___ CHANGE:__________________________
10               REASON:___________________________________
11               ___    ___ CHANGE:__________________________
12               REASON:___________________________________
13               ___ ___ CHANGE:___________________________
14               REASON:___________________________________
15               ___ ___ CHANGE: __________________________
16               REASON:___________________________________
17               ___ ___ CHANGE: __________________________
18               REASON:___________________________________
19
20             _________________________                   _____________
                         JOSE VEGA                                DATE
21
22           SUBSCRIBED AND SWORN TO BEFORE
23           ME THIS ___DAY OF_______, 201 .
24
             __________________                    __________________
25           NOTARY PUBLIC                         COMMISSION EXPIRES

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       FRPSOHWHGWKHGHSRQHQWPXVWEHDOORZHGGD\V

       DIWHUEHLQJQRWLILHGE\WKHRIILFHUWKDWWKH

       WUDQVFULSWRUUHFRUGLQJLVDYDLODEOHLQZKLFK

       $WRUHYLHZWKHWUDQVFULSWRUUHFRUGLQJDQG

       %LIWKHUHDUHFKDQJHVLQIRUPRUVXEVWDQFHWR

       VLJQDVWDWHPHQWOLVWLQJWKHFKDQJHVDQGWKH

       UHDVRQVIRUPDNLQJWKHP

       &KDQJHV,QGLFDWHGLQWKH2IILFHU
V&HUWLILFDWH

       7KHRIILFHUPXVWQRWHLQWKHFHUWLILFDWHSUHVFULEHG

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       DQGLIVRPXVWDWWDFKDQ\FKDQJHVWKHGHSRQHQW

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